     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 1 of 55 Page ID #:1



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 6
                               UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA
 8
       HUGUES GERVAT, derivatively on              Case No.:
 9     behalf of BEYOND MEAT., INC.
10

11                      Plaintiff,                 DEMAND FOR JURY TRIAL
             v.
12

13     ETHAN WALDEN BROWN, MARK J.
       NELSON, PHILLIP E. HARDIN, SETH
14
       GOLDMAN, SALLY GRIMES,
15     RAYMOND LANE, MUKTESH PANT,
       NED SEGAL, KATHY WALLER                     VERIFIED SHAREHOLDER
16
                                                   DERIVATIVE COMPLAINT
17                     Defendants,
18
             and
19
       BEYOND MEAT, INC.,
20

21                    Nominal Defendant.
22

23

24

25

26

27

28

                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 2 of 55 Page ID #:2



 1
                                          INTRODUCTION
 2

 3          Plaintiff Hugues Gervat (“Plaintiff”), by their undersigned attorneys, derivatively
 4    and on behalf of Nominal Defendant Beyond Meat, Inc. (“Beyond Meat” or the
 5    “Company”), file this Shareholder Derivative Complaint against Individual Defendants
 6    Ethan Walden Brown (“Brown”), Mark J. Nelson (“Nelson”), Phillips E. Hardin
 7    (“Hardin”), Seth Goldman (“Goldman”), Sally Grimes (“Grimes”), Raymond J. Lane
 8    (“Lane”), Muktesh “Micky” Pant (“Pant”), Ned Segal (“Segal”), and Kathy N. Waller
 9    (“Waller”). (collectively, the “Individual Defendants,” and together with Beyond Meat, the
10    “Defendants”) for breaches of their fiduciary duties as employees, directors and/or officers
11    of Beyond Meat, unjust enrichment, waste of corporate assets, gross mismanagement, and
12    against nearly all of the Individual Defendants for violations of Sections 14(a) of the
13    Securities Exchange Act of 1934 (the “Exchange Act”), and seek contribution under
14    Section 10(b) and 21D of the Exchange Act. As for Plaintiff’s complaint against the
15    Defendants, Plaintiff alleges the following based upon personal knowledge as to Plaintiff
16    and Plaintiff’s own acts, and information and belief as to all other matters, based upon,
17    inter alia, the investigation conducted by and through Plaintiff’s attorneys, which included,
18    among other things, a review of the Defendants’ public documents, conference calls, and
19    announcements made by Defendants, United States Securities and Exchange Commission
20    (“SEC”) filings, wire and press releases published by and regarding Beyond Meat, legal
21    filings, news reports, securities analysts’ reports and advisories about the Company, and
22    information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary
23    support will exist for the allegations set forth herein after a reasonable opportunity for
24    discovery.
25
                                     NATURE OF THE ACTION
26

27          1.     This is a shareholder derivative action that seeks to remedy wrongdoing
28    committed by Beyond Meat’s employees, directors, and officers from May 5, 2020,
                                                    1
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 3 of 55 Page ID #:3



 1
      through October 13, 2022 (the “Relevant Period”) based on Defendants making materially
 2
      false and misleading statements about the Company’s business operations and prospects as
 3
      set forth herein.
 4
            2.     Beyond Meat is a Los Angeles based provider of plant-based meat products,
 5
      including beef, pork, and poultry substitutes. Beyond Meat’s most popular offering is the
 6
      Beyond Burger, a plant-based burger sold in thousands of grocery stores and restaurants
 7
      internationally. This matter arises out of the Individual Defendants material
 8
      misrepresentations and/or omissions concerning the Company’s ability to manufacture
 9
      plant-based meats at the scale specified by the Company’s corporate customers, who
10
      Beyond Meat refers to as “partners.”
11
            3.     During the Relevant Period, the Company misled investors by exaggerating
12
      the success of its product tests with its large-scale partnerships, including prominent food
13
      brands such as McDonalds, Starbucks, KFC, Pizza Hut, and Taco Bell. Beyond Meat
14
      assured its investors that it could “ensure manufacturability” through “extensive testing,”
15
      and that the Company could manufacture its plant-based meat products at a commercial
16
      scale specified by its partners. Furthermore, the Company blamed what delays they had in
17
      launching their large-scale partnerships on the Covid-19 pandemic.
18
            4.     In the meantime, certain of the Company’s executives, including Defendants
19
      Nelson, Goldman, and Lane profited enormously by selling hundreds of thousands of
20
      shares of their personally held Company stock at artificially inflated prices during the
21
      Relevant Period.
22
            5.     The truth began to emerge on October 22, 2021, when the Company
23
      announced that it would be reducing its third quarter net revenues outlook by up to $34
24
      million, or 25%. Furthermore, as part of the announcement, the Company also revealed
25
      that it was facing increased expenses and inventories. Upon this news, the Company’s stock
26
      declined by $12.82 per share or nearly 12%, from closing at $108.62 on October 21, 2021,
27
      to close at $95.80 per share on October 22, 2021.
28
                                                   2
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 4 of 55 Page ID #:4



 1
            6.    Next, on November 10, 2021, the Company announced a $1.8 million write-
 2
      off of unsold inventory. Upon this news, the Company’s stock declined $12.55 per share,
 3
      or nearly 13%, from closing at $94.48 on November 10, 2021, to close at $81.93 per share
 4
      on November 11, 2021.
 5
            7.    Defendants, however, continued to assure Beyond Meat investors of the
 6
      success of its partnerships. Such as, on November 10, 2021, when Defendant Brown stated
 7
      that the Company “overcame numerous technical challenges” and then blamed the
 8
      Company’s poor financial results on Covid-19.
 9
            8.    On November 17, 2021, Bloomberg published an article discussing the
10
      Company’s delays in production and the execution challenges the Company was facing.
11
      Former employees reported that there were “significant internal problems” stemming from
12
      “confusion and misalignment…and belated decision-making” that corresponded with
13
      exacerbated production delays. As a result of these disclosures, the price of Beyond Meat
14
      stock declined by $3.01 per share, or more than 3.5%, from closing at $83.48 per share on
15
      November 16, 2021, to close at $80.97 per share on November 17, 2021.
16
            9.    On December 9, 2021, after the market closed, Bloomberg reported that Taco
17
      Bell cancelled a planned product test due to ongoing quality concerns with the Company’s
18
      products. Then, on December 10, 2021, Yahoo! Finance, also reported on the cancellation.
19
      Both articles discussed how Taco Bell was dissatisfied with the quality of the samples
20
      provided by Beyond Meat. As a result of these reports, the price of the Company’s stock
21
      declined by $5.58 per share, or nearly 8%, from closing at $70.09 per share on December
22
      9, 2021, to close at $64.51 per share on December 10, 2021.
23
            10.   On October 14, 2022, the Company announced that several top executives,
24
      including the Company’s Chief Operating Officer (“COO”), Chief Growth Officer
25
      (“CGO”), and Chief Financial Officer(“CFO”) were departing Beyond Meat. Upon this
26
      news, the price of the Company’s stock dropped by $1.43 per share, or over 9.6%, from
27

28
                                                 3
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 5 of 55 Page ID #:5



 1
      closing at $14.78 per share on October 13, 2022, to close at $13.35 per share on October
 2
      14, 2022.
 3
            11.    During the Relevant Period, the Individual Defendants breached their
 4
      fiduciary duties by personally making and/or causing Beyond Meat to make materially
 5
      false and misleading statements in filings with the SEC, including its Schedule 14A filed
 6
      with the SEC on April 9, 2021(the “2021 Proxy Statement”), the annual report filed on
 7
      Form 10-K filed with the SEC on March 1, 2021 for the fiscal year ended December 31,
 8
      2020 ( the “2020 10-K”), the Schedule 14A filed with the SEC on April 12, 2022 (the
 9
      “2022 Proxy Statement”), the annual report filed on Form 10-K filed with the SEC on
10
      March 2, 2022 for the fiscal year ended December 31, 2021 (the “2021 10-K”) and during
11
      conferences and calls with investors, which failed to disclose, inter alia, that: (1) the
12
      Company was unable to meet the production specifications of its partners due to issues
13
      with scaling production; (2) delayed decision making and misalignment created production
14
      delays; (3) the Company misrepresented the strength of its partnerships; and (4) the
15
      Company failed to maintain adequate internal controls.
16
            12.    During the Relevant Period, the Individual Defendants continued to breach
17
      their fiduciary duties by failing to correct and causing Beyond Meat to fail to correct these
18
      false and misleading statements and omissions of material fact to the investing public. At
19
      the same time, three of the Individual Defendants engaged in improper insider sales,
20
      reaping approximately $93.1 million in proceeds.
21
            13.    Furthermore, during the Relevant Period, the Individual Defendants breached
22
      their fiduciary duties by causing Beyond Meat to fail to maintain adequate internal controls.
23
            14.    In light of the Individual Defendants’ misconduct, which has subjected
24
      Beyond Meat and certain of its employees and officers to being named as defendants in the
25
      federal securities class action lawsuit pending in the United States District Court for the
26
      Central District of California (the “Securities Class Action”), the need to undertake internal
27
      investigations, the need to implement adequate internal controls, the losses to Beyond Meat
28
                                                    4
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 6 of 55 Page ID #:6



 1
      from the over-compensation by the Company of the Individual Defendants, , among other
 2
      things, Beyond Meat will have to expend millions of dollars.
 3
            15.    The Company has been substantially damaged as a result of the Individual
 4
      Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct,
 5
      and the aiding and abetting thereof.
 6
            16.    In light of the breaches of fiduciary duty engaged in by the Individual
 7
      Defendants, most of whom are Beyond Meat’s current directors, their collective
 8
      engagement in misconduct, the substantial likelihood of the directors’ liability in this
 9
      derivative action and the Securities Class Action, their being beholden to each other, their
10
      longstanding business and personal relationships with each other, and of their not being
11
      disinterested and/or independent directors, a majority of Beyond Meat’s Board of Directors
12
      (the “Board”) cannot consider a demand to commence litigation against themselves on
13
      behalf of Beyond Meat with the requisite level of disinterestedness and independence.
14
                                      JURISDICTION AND VENUE
15
            17.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
16
      because Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act,
17
      15 U.S.C. § 78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9.
18
      Plaintiff’s claims also raise a federal question pertaining to the claims made in the
19
      Securities Class Actions based on violations of the Exchange Act.
20
            18.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
21
      pursuant to 28 U.S.C. § 1367(a).
22
            19.    This derivative action is not a collusive action to confer jurisdiction on a court
23
      of the United States that it would not otherwise have.
24
            20.    The Court has personal jurisdiction over each of the Defendants because each
25
      Defendant is either a corporation or limited liability company doing business in California,
26
      or he or she is an individual who has minimum contacts with California to justify the
27
      exercise of jurisdiction over them.
28
                                                    5
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 7 of 55 Page ID #:7



 1
             21.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401
 2
      because a substantial portion of the transactions and wrongs complained of herein occurred
 3
      in this District, and the Defendants have received substantial compensation in this District
 4
      by engaging in numerous activities that had an effect in this District.
 5
             22.    Venue is proper in this District because Beyond Meat and the Individual
 6
      Defendants have conducted business in this District, and Defendants’ actions have had an
 7
      effect in this District.
 8
                                                   PARTIES
 9
             Plaintiff
10
             23.    Plaintiff is a current shareholder of Beyond Meat common stock and has
11
      continuously held Beyond Meat common stock at all relevant times.
12
             Nominal Defendant Beyond Meat
13
             24.    Beyond Meat is a Delaware corporation with its principal executive offices
14
      located at 119 Standard Street, El Segundo, California 90245. Beyond Meat’s shares trade
15
      on NASDAQ under the ticker symbol “BYND.”
16
             Defendant Brown
17
             25.    Defendant Brown is the founder of the Company and has served as the
18
      Company’s President, CEO, and director since 2009. According to the Company’s
19
      Schedule 14A filed with the SEC on April 12, 2023 (the “2023 Proxy Statement”), as of
20
      March 28, 2023, Defendant Brown beneficially owned 3,713,385 shares of Beyond Meat’s
21
      common stock, which represented 5.6% of Beyond Meat’s outstanding shares of common
22
      stock on that date. Given that the price per share of Beyond Meat’s common stock at the
23
      close of trading on March 28, 2023 was $15.68, Defendant Brown owned approximately
24
      $58.2 million worth of Beyond Meat stock.
25
             26.    For the fiscal year ended December 31, 2022, Defendant Brown received
26
      $6,770,871 in total compensation from Beyond Meat. This included, $500,000 in salary,
27
      $1,200 in bonus, $2,950,046 in stock awards, $3,305,443 in option awards and $14,132 in
28
                                                    6
                                 Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 8 of 55 Page ID #:8



 1
      all other compensation. For the fiscal year ended December 31, 2021, Defendant Brown
 2
      received $6,573,625 in total compensation from Beyond Meat. This included, $500,000 in
 3
      salary, $2,792,046 in stock awards, $3,095,683 in option awards, $180,000 in non-equity
 4
      incentive plan compensation, and $4,352 in all other compensation. For the fiscal year
 5
      ended December 31, 2020, Defendant Brown received $5,333,325 in total compensation
 6
      from Beyond Meat. This included, $500,000 in salary, $2,286,988 in stock awards,
 7
      $2,543,337 in option awards, and $3,000 in all other compensation.
 8
            27.   The 2023 Proxy Statement stated the following regarding Defendant Brown:
 9

10          Ethan Brown is the founder of Beyond Meat and has served as our President
            and Chief Executive Officer and as a member of our board of directors since
11          our inception in 2009. He also serves as a manager of the Planet Partnership,
12          LLC, our joint venture with PepsiCo, Inc., and served as our Secretary from
            our inception to September 2018. Mr. Brown began his career with a focus on
13          clean energy and the environment, including serving as an energy analyst for
14          the National Governors’ Center for Best Practices. He then joined Ballard
            Power Systems, Inc. (NASDAQ: BLDP), a hydrogen fuel-cell company,
15          being promoted from an entry-level manager to reporting directly to the Chief
16          Executive Officer before leaving to found Beyond Meat. Mr. Brown also
            created and opened a center for fuel reformation and has held several industry
17          positions, including Vice Chairman of the Board at The National Hydrogen
18          Association and Secretary of the United States Fuel Cell Council. He is a
            Henry Crown Fellow at the Aspen Institute, was honored as part of Inc.’s Best
19          Led Companies 2021, The Bloomberg 50 for 2019, Newsweek’s Top
20          Innovators of 2019, and, along with Beyond Meat, is the recipient of the
            United Nation’s highest environmental accolade, Champion of the Earth
21          (2018). Mr. Brown holds an MBA from Columbia University, an MPP with a
22          focus on Environment from the University of Maryland and a BA in History
            and Government from Connecticut College.
23
            Defendant Nelson
24
            28.   Defendant Nelson served as CFO from May 2017 until May 2021 and as
25
      Treasurer from September 2018 until May 2021. After which Defendant Nelson served as
26
      a consultant until May 2023. Previously, he served as Beyond Meat’s Chief Operating
27
      Officer from May 2017 through September 2018, and as Secretary from September 2018
28
                                                  7
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 9 of 55 Page ID #:9



 1
      through May 2019. On February 26, 2021, Defendant Nelson informed the Company of
 2
      his intention to retire and did retire from employment with the Company effective May 5,
 3
      2021. In consideration for his retirement, Defendant Nelson received a $1,000 lump sum
 4
      payment and the Company will pay the costs of monthly COBRA premiums for him and
 5
      his dependents for up to 18 months.
 6
            29.   For the fiscal year ended December 31, 2021, Defendant Nelson received
 7
      $239,350 in total compensation from Beyond Meat. This included, $154,307 in salary,
 8
      $72,030 in non-equity incentive plan compensation, and $13,013 in all other compensation.
 9
      For the fiscal year ended December 31, 2020, Defendant Nelson received $2,871,897 in
10
      total compensation from Beyond Meat. This included $365,000 in salary, $1,185,874 in
11
      stock awards, $1,318,023 in option awards, $3,000 in all other compensation.
12
            30.   During the Relevant Period, while the Company’s stock price was artificially
13
      inflated and before the scheme was exposed, Defendant Nelson made the following sale of
14
      company stock:
15

16                   Date             Number of       Avg. Price/Share      Proceeds
17                                     Shares
               May 7, 2020             50,000              $126.27         $6,313,700
18             May 8, 2020             50,000              $130.55         $6,527,300
19             June 4, 2020            25,000              $136.31         $3,407,674
               June 5, 2020            51,065              $135.27         $6,907,715
20            August 6, 2020           71,388              $134.09         $9,572,488
21            August 7, 2020           96,421              $133.47         $12,869,118
             November 17, 2020         56,545              $128.66         $7,274,910
22
             November 18, 2020         41,853              $135.27         $5,661,622
23
      Thus, in total, before the fraud was exposed, he sold 441,272 shares of Company stock on
24
      inside information, for which he received approximately $58.5 million in proceeds. His
25
      insider sales, made with knowledge of material misstatements and omissions were exposed,
26
      demonstrate his motive and participating in the scheme.
27
            31.   The 2021 Proxy Statement stated the following about Defendant Nelson:
28
                                                  8
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 10 of 55 Page ID #:10



 1           Mark J. Nelson rejoined Beyond Meat as Chief Operating Officer and Chief
 2           Financial Officer in May 2017 after briefly serving as Senior Vice President
             and Chief Financial Officer of Biolase (NASDAQ: BIOL), a medical device
 3           company, from March 2017 to May 2017. From February 2016 to March
 4           2017, Mr. Nelson served as our Chief Operating Officer and Chief Financial
             Officer and from December 2015 to February 2016 served solely as our Chief
 5           Financial Officer. In September 2018, Mr. Nelson was also appointed
 6           Treasurer and Secretary and resigned his Chief Operating Officer position. He
             resigned as Secretary in May 2019. From April 2013 to November 2015, Mr.
 7           Nelson was Treasurer and Chief Financial Officer of Farmer Bros. Co.
 8           (NASDAQ: FARM), a manufacturer, wholesaler and distributor of coffee, tea,
             spices and culinary products. Prior to that, Mr. Nelson served as Chief
 9           Accounting Officer (April 2010 to April 2013), Vice President, Corporate
10           Controller (June 2008 to April 2010) and Vice President and General Manager
             (June 2006 to May 2008) at Newport Corporation, a former publicly traded
11           global supplier of advanced technology products and systems. He also worked
12           at Thermo Fisher (NYSE: TMO), a biotechnology product development
             company, from June 2002 to October 2004, and began his career at General
13           Electric Company (NYSE: GE) as a member of GE’s Financial Management
14           Program. Mr. Nelson has a Bachelor of Business Administration from the
             University of Massachusetts at Amherst, and an MBA degree from Babson
15           College. Mr. Nelson will be retiring from his role as Chief Financial Officer
16           and Treasurer, effective May 5, 2021.
17           Defendant Hardin

18           32.   Defendant Hardin served as CFO and Treasurer from July 12, 2021 until

19     October 2022. According to the 2023 Proxy Statement, as of March 28, 2023, Defendant

20     Hardin beneficially owned 3,080 shares of Beyond Meat’s common stock. Given that the

21     price per share of Beyond Meat’s common stock at the close of trading on March 28, 2023

22     was $15.68, Defendant Hardin owned approximately $48,294 worth of Beyond Meat stock.

23           33.   For the fiscal year ended December 31, 2022, Defendant Hardin received

24     $3,587,734 in total compensation from Beyond Meat. This included, $373,693 in salary,

25     $1,000 in bonus, $1,500,037 in stock awards, $1,680,736 in option awards, and $32,268 in

26     all other compensation. For the fiscal year ended December 31, 2021, Defendant Hardin

27     received $4,840,623 in total compensation from Beyond Meat. This included $208,333 in

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                                                  9
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 11 of 55 Page ID #:11



 1
       salary, $525,000 in bonus, $1,915,062 in stock awards, $2,134,028 in option awards, and
 2
       $58,200 in all other compensation.
 3
             34.   The 2022 Proxy Statement stated the following about Defendant Hardin:
 4
             Phil Hardin joined Beyond Meat as Chief Financial Officer and Treasurer in
 5
             July 2021. Before joining Beyond Meat, Mr. Hardin served as Vice President,
 6           Finance at Amazon Advertising from March 2019 to July 2021, and Director,
             Finance, Amazon Advertising from August 2017 to March 2019. Mr. Hardin
 7
             also served in various other roles at Amazon’s business divisions, including
 8           Director, Finance for EU Customer Fulfillment from February 2016 to August
             2017 and Director, Investor Relations for Amazon.com from May 2014 to
 9
             February 2016. He was also Director, Finance for Kindle Content & Digital
10           Subsidiaries from October 2011 to May 2014. Mr. Hardin received his BS in
             Mechanical Engineering from North Carolina State University, and his MBA
11
             from The Fuqua School of Business at Duke University.
12           Defendant Goldman
13           35.   Defendant Goldman has served as Chair of the Board since 2020. He
14     previously served as Executive Chair from October 2015 until February 2020. He also
15     serves as a member of the Nominating and Corporate Governance Committee. According
16     to the 2023 Proxy Statement, as of March 28, 2023, Defendant Goldman beneficially
17     owned 1,016,680 shares of Beyond Meat’s common stock. Given that the price per share
18     of Beyond Meat’s common stock at the close of trading on March 28, 2023 was $15.68,
19     Defendant Goldman owned approximately $15.9 million worth of Beyond Meat Stock
20           36.   For the fiscal year ended December 31, 2022, Defendant Goldman received
21     $135,907 in total compensation made up of $67,500 in fees earned or cash paid and $68,407
22     in stock awards. For the fiscal year ended December 31, 2021, Defendant Goldman
23     received $154,900 in total compensation. This included $67,500 in fees earned or paid in
24     cash, and $87,400 in stock awards. For the fiscal year ended December 31, 2020, Defendant
25     Goldman received $235,738 in total compensation. This included $56,378 in fees earned
26     or paid in cash, $138,939 in stock awards, and $40,421 in all other compensation.
27

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                                                  10
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 12 of 55 Page ID #:12



 1
             37.    During the Relevant Period, while the Company’s stock price was artificially
 2
       inflated and before the scheme was exposed, Defendant Goldman made the following sale
 3
       of Company stock:
 4

 5                    Date             Number of       Avg. Price/Share      Proceeds
 6                                      Shares
               August 27, 2020          42,500              $130.85         $5,560,997
 7            September 21, 2020        127,500             $145.44         $18,544,237
 8     Thus, in total, before the fraud was exposed, he sold 170,000 shares of Company stock on
 9     inside information, for which he received approximately $24.1 million in proceeds. His
10     inside sales, made with knowledge of material nonpublic information before the material
11     misstatements and omissions were exposed, demonstrate his motive in facilitating and
12     participating in the scheme.
13           38.    The 2023 Proxy Statement stated the following about Defendant Goldman:
14
              Seth Goldman joined Beyond Meat as a member of our board of directors in
15           February 2013. Mr. Goldman served as Executive Chair of Beyond Meat from
16           October 2015 through February 2020. Mr. Goldman is the Co-Founder of Eat
             the Change and has served as CEO of Eat the Change since March 2020. He
17           is also a co-founder of PLNT Burger, a quick-serve restaurant concept. Mr.
18           Goldman was the TeaEO Emeritus and Innovation Catalyst for The Coca-
             Cola Company’s Venturing & Emerging Brands, a part-time position he held
19           from November 2015 through December 2019. Mr. Goldman co-founded
20           Honest Tea Inc., a bottled organic tea company, in February 1998, which was
             later sold to The Coca-Cola Company, and previously served as Honest Tea’s
21           President and TeaEO until 2015. In 2022, Mr. Goldman was named Person of
22           the Year by BevNet Magazine, and in 2015 he was named the #1 Disruptor
             by Beverage World and Beverage Executive of the Year by Beverage Industry
23           magazine. He has also been recognized as an Ernst & Young Entrepreneur of
24           the Year and by the Washington DC Business Hall of Fame. In 2018,
             Partnership for a Healthier America recognized Mr. Goldman with its
25
             Visionary CEO award. Mr. Goldman is the co-chair of the Yale School of
26           Management’s Entrepreneurship Advisory Board and, since January 2008,
             has served on the advisory board of Bethesda Green, a local sustainability
27
             non-profit he co-founded. He also served on the board of Ripple Foods, a
28           dairy-free plant-based milk company, from November 2015 to October 2020,
                                                  11
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 13 of 55 Page ID #:13



 1           the advisory board of the American Beverage Association from 2013 to 2019
 2           and the Yale School of Management from July 2013 to March 2020. Mr.
             Goldman has demonstrated his commitment to boardroom excellence by
 3           becoming NACD Directorship Certified and as a NACD Board Leadership
 4           Fellow by the National Association of Corporate Directors. Mr. Goldman has
             a BA degree in Government from Harvard College and a Masters of Private
 5           & Public Management degree from Yale School of Management and is a
 6           Henry Crown Fellow of the Aspen Institute. We believe that Mr. Goldman is
             qualified to serve on our board of directors due to his extensive experience
 7           working at fast-growing brands in the food and beverage industry, his
 8           experience founding and building an entrepreneurial company and his
             knowledge of sustainable business practices.
 9
             Defendant Grimes
10
             39.    Defendant Grimes has served as a Beyond Meat director since May 2021. She
11
       also serves as Chairperson of the Nominating and Corporate Governance Committee and
12
       a member of the Risk Committee. According to the 2023 Proxy Statement, as of March 28,
13
       2023, Defendant Grimes beneficially owned 4,866 shares of Beyond Meat’s common
14
       stock. Given that the price per share of Beyond Meat’s common stock at the close of trading
15
       on March 28, 2023 was $15.68, Defendant Grimes beneficially owned approximately
16
       $76,298 worth of Beyond Meat stock.
17
             40.    For the fiscal year ended December 31, 2022, Defendant Grimes received
18
       $111,539 in total compensation. This included, $43,132 in fees earned or paid in cash, and
19
       $68,407 in stock awards. For the fiscal year ended December 31, 2021, Defendant Grimes
20
       received $276,573 in total compensation. This included, $29,934 in fees earned or paid in
21
       cash, and $249,639 in stock awards.
22
             41.    The 2023 Proxy Statement stated the following about Defendant Grimes:
23
             Sally Grimes has served as a member of our board of directors since May
24
             2021. Ms. Grimes most recently served as Chief Executive Officer of Clif Bar
25           & Company from May 2020 to March 2023, when Clif Bar was acquired by
             Mondelez International (NYSE: MDLZ). Prior to joining Clif Bar, Ms.
26
             Grimes served in a number of executive roles at Tyson Foods, Inc. (NYSE:
27           TSN), including Group President of Prepared Foods for Tyson Foods from
             August 2017 to January 2020, President of Retail from January 2017 to
28
                                                   12
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 14 of 55 Page ID #:14



 1           August 2017 and Chief Global Growth Officer & President, International
 2           from August 2014 to January 2017. Ms. Grimes joined Tyson Foods through
             the acquisition of The Hillshire Brands Company, where she served as Chief
 3           Innovation Officer & President, Gourmet Foods Group from July 2012 to
 4           August 2014. Prior to joining Hillshire, Ms. Grimes served as Global Vice
             President of Marketing for Sharpie at Newell Rubbermaid from June 2007 to
 5           July 2012. Ms. Grimes spent a decade in brand management at Kraft Foods
 6           from July 1997 to June 2007. Ms. Grimes has been recognized by leading
             business publications including being named one of Fortune’s Most Powerful
 7           Women to Watch in 2019 and one of Fast Company’s Most Creative People
 8           in Business in 2012. She was also recognized by Crain’s Business as one of
             The Most Powerful Women in Chicago Business in 2019, and by San
 9           Francisco Business Times as one of The Most Influential Women in Bay Area
10           Business in 2022. Ms. Grimes has served on the board of directors of Silver
             Oak Winery and Continental Grain Company since November 2022 and the
11           board of directors of the Midtown Educational Foundation since June 2016.
12           She served on the board of the Economic Club of Chicago from June 2019 to
             May 2022 and the board of Numerator, a Vista Private Equity portfolio
13           company, from October 2019 to October 2020. Ms. Grimes holds a BS degree
14           in Finance from Valparaiso University and an MBA from the University of
             Chicago Booth School of Business. We believe that Ms. Grimes is qualified
15           to serve on our board of directors due to her extensive experience in the food
16           industry and her significant leadership experience.
17           Defendant Lane

18           42.     Defendant Lane has served as a Beyond Meat director since February 2015.

19     He also serves as a member of the Human Capital Management and Compensation

20     Committee. According to the 2023 Proxy Statement, as of March 28, 2023, Defendant Lane

21     beneficially owned 40,488 shares of Beyond Meat’s common stock. Given that the price

22     per share of Beyond Meat’s common stock at the close of trading on March 28, 2023 was

23     $15.68, Defendant Lane beneficially owned approximately $634,851 worth of Beyond

24     Meat stock.

25           43.     For the fiscal year ended December 31, 2022, Lane received $121,407 in total

26     compensation from the Company. This included $53,000 in fees earned or paid in cash and

27     $68,407 in stock awards. For the fiscal year ended December 31, 2021, Defendant Lane

28     received $134,900 in total compensation. This included $47,500 in fees earned or paid in
                                                   13
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 15 of 55 Page ID #:15



 1
       cash, and $87,400 in stock awards. For the fiscal year ended December 31, 2020, Defendant
 2
       Lane received $191,939 in total compensation. This included $53,000 in fees earned or
 3
       paid in cash, and $138,939 in stock awards.
 4
             44.     During the Relevant Period, while the Company’s stock price was artificially
 5
       inflated and before the scheme was exposed, Defendant Lane made the following sale of
 6
       company stock:
 7

 8                    Date             Number of          Avg. Price/Share    Proceeds
 9                                      Shares
                   May 15, 2020         18,803                $136.40        $2,564,729
10                 May 18, 2020         59,749                $134.00        $8,006,729
11     Thus, in total, before the fraud was exposed, he sold 78,552 shares of Company stock on
12     inside information, for which he received approximately $10.5 million in proceeds. His
13     insider sales, made with knowledge of material nonpublic information before the material
14     misstatements and omissions were exposed, demonstrate his motive in facilitating and
15     participating in the scheme.
16           45.     The 2023 Proxy Statement stated the following about Defendant Lane:
17
             Raymond J. Lane has served as a member of our board of directors since
18           February 2015. Mr. Lane has been a Managing Partner at GreatPoint
             Ventures, a venture capital firm, since March 2015. Mr. Lane has served as a
19
             Partner Emeritus and Advisor of Kleiner, Perkins, Caufield & Byers LLC, a
20           venture capital firm, since April 2013 and was a Managing Partner of Kleiner,
             Perkins, Caufield & Byers LLC from September 2000 to April 2013. Mr. Lane
21
             has served on the board of directors of Hewlett Packard Enterprise Company
22           (NYSE: HPE) from November 2015 to the present and is currently a member
23
             of its Technology Committee. In addition, Mr. Lane previously served as
             executive Chairman of Hewlett-Packard Company from September 2011 to
24           April 2013 and as non-executive Chairman of Hewlett-Packard Company
25
             from November 2010 to September 2011. Prior to joining Kleiner Perkins,
             Mr. Lane was President and Chief Operating Officer and a director of Oracle
26           Corporation (NYSE: ORCL), a software company. Mr. Lane serves on the
27
             Board of Trustees of Carnegie Mellon University, including as Chairman of
             the Board from July 2009 to July 2015. He also serves on the board of
28
                                                     14
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 16 of 55 Page ID #:16



 1           directors of Special Olympics International. Mr. Lane holds a BS degree in
 2           Mathematics and an honorary PhD in Science from West Virginia University.
             We believe that Mr. Lane is qualified to serve on our board of directors due
 3           to his experience in working with entrepreneurial companies and his
 4           experience on other public company boards of directors.
             Defendant Pant
 5
             46.   Defendant Pant has served as a company director since May 2021. He also
 6
       serves as Chairperson of the Human Capital Management and Compensation Committee
 7
       and a member of the Nominating and Corporate Governance Committee. According to the
 8
       2023 Proxy Statement, as of March 28, 2023, Defendant Pant beneficially owned 54,866
 9
       of Beyond Meat’s common stock. Given that the price per share of Beyond Meat’s common
10
       stock at the close of trading on March 28, 2023 was $15.68, Defendant Pant beneficially
11
       owned approximately $860,298 worth of Beyond Meat stock.
12
             47.   For the fiscal year ended December 31, 2022, Defendant Pant received
13
       $121,407 in total compensation. This included $53,000 in fees earned or paid in cash, and
14
       $68,407 in stock awards. For the fiscal year ended December 31, 2021, Defendant Pant
15
       received $282,837 in total compensation. This included $33,198 in fees earned or paid in
16
       cash and $249,639 in stock awards.
17
             48.   The 2023 Proxy statement stated the following about Defendant Pant:
18

19           Muktesh “Micky” Pant has served as a member of our board of directors since
             May 2021. Mr. Pant retired from Yum Brands in January 2018 after 13 years
20
             of service, most recently as the Chief Executive Officer of Yum China
21           Holdings (NYSE: YUMC). Mr. Pant joined Yum Brands in 2005 as its Chief
             Marketing Officer and served in a number of senior roles of increasing
22
             responsibility, including Chief Executive Officer of Yum Restaurants
23           International, Chief Executive Officer of KFC Globally, President of Taco
             Bell International and Chief Concept Officer of Yum Brands. Mr. Pant was
24
             appointed Chief Executive Officer of the China Division of Yum Brands in
25           2015 and played a key role in the spin-off of Yum China as a separate
             company and its successful listing on the New York Stock Exchange in 2016.
26
             In 2018, Mr. Pant retired as Chief Executive Officer of Yum China Holdings
27           and served as Vice Chairman of the Board and Senior Advisor until May 2020.
             Mr. Pant served as a consultant to Beyond Meat from March 3, 2020 through
28
                                                  15
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 17 of 55 Page ID #:17



 1           December 31, 2020 pursuant to a consulting agreement between Mr. Pant and
 2           the company. Mr. Pant has four decades of experience in marketing and
             international business and has lived and worked in the United States, China,
 3           the United Kingdom and India. Prior to working for Yum Brands, Mr. Pant
 4           worked at Reebok International, serving in various roles from 1994 to 2004,
             including Chief Marketing Officer. Mr. Pant also worked at PepsiCo India
 5           from 1992 to 1994 and at Unilever in India and the United Kingdom from
 6           1976 to 1990. Mr. Pant was a member of the board of directors of Primavera
             Capital Acquisition Corporation, a special purpose acquisition company listed
 7           on the NYSE (NYSE: PV-UN) from January 2021 to December 2022 when
 8           that company was acquired by Lanvin Group. Mr. Pant previously served as
             a member of the board of directors of Pinnacle Foods (now part of Conagra
 9           Brands) from December 2014 to June 2018 and as a member of its audit
10           committee from 2015 to 2018. Mr. Pant holds a B Tech degree in Chemical
             Engineering from the Indian Institute of Technology, Kanpur and is a
11           recipient of the Institute’s Distinguished Alumnus Award. We believe that
12           Mr. Pant is qualified to serve on our board of directors because of his
             extensive experience working in the food and beverage industry, including
13           leadership positions with quick serve restaurants, and his public company
14           board experience.

15           Defendant Segal

16           49.   Defendant Segal has served as a Company director since November 2018. He

17     has also served as a member of the Audit Committee since at least 2019. According to the

18     2023 Proxy Statement, as of March 28, 2023, Defendant Segal beneficially owned 21,564

19     shares of Beyond Meat’s common stock. Given that the price per share of Beyond Meat’s

20     common stock at the close of trading on March 28, 2023 was $15.68, Defendant Segal

21     beneficially owned approximately $338,339 worth of Beyond Meat stock.

22           50.   For the fiscal year ended December 31, 2022, Defendant Segal received

23     $115,907 in total compensation. This included $47,500 in fees earned or paid in cash and

24     $68,407 in stock awards. For the fiscal year ended December 31, 2021, Defendant Segal

25     received $134,900 in total compensation from Beyond Meat. This included $47,500 in fees

26     earned or paid in cash and $87,400 in stock awards. For the fiscal year ended December

27     31, 2020, Defendant Segal received $186,439 in total compensation from Beyond Meat.

28     This included $47,500 in fees earned or paid in cash, and $138,939 in stock awards.
                                                  16
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 18 of 55 Page ID #:18



 1
             51.   The 2023 Proxy Statement stated the following about Defendant Segal:
 2

 3           Ned Segal has served as a member of our board of directors since November
             2018. Mr. Segal served as the Chief Financial Officer of Twitter, Inc. from
 4           August 2017 to October 2022. From January 2015 to August 2017, Mr. Segal
 5           served as Senior Vice President of Finance of Intuit Inc. (NASDAQ: INTU),
             a business and financial software company. From April 2013 to January 2015,
 6           Mr. Segal served as Chief Financial Officer of RPX Corporation, a former
 7           publicly traded company that provides patent risk management and discovery
             services. From 1996 to April 2013, Mr. Segal held various positions at The
 8           Goldman Sachs Group, Inc. (NYSE: GS), most recently as Head of Global
 9           Software Investment Banking. Mr. Segal was a member of the board of
             directors of TS Innovation Acquisition Corp., a special purpose acquisition
10           company listed on NASDAQ, from November 2020 to June 2021 when that
11           company was acquired by and changed its name to Latch, Inc. (NASDAQ:
             LTCH). Mr. Segal was a member of the board of directors of Tishman Speyer
12           Innovation Corp. II, a special purpose acquisition company listed on
13           NASDAQ from January 2021 to December 2022, and served on its Audit
             Committee and as Chair of its Compensation Committee. Mr. Segal holds a
14           BS degree in Spanish from Georgetown University. We believe that Mr. Segal
15           is qualified to serve on our board of directors because of his experience in
             finance at a number of major public companies.
16
             Defendant Waller
17
             52.   Defendant Waller has served as a Company director since November 2018,
18
       and has served, as Chairperson of the Audit Committee and a member of the Human Capital
19
       Management and Compensation Committee since at least 2019. According to the 2023
20
       Proxy Statement, as of March 28, 2023, Defendant Waller beneficially owned 22,064
21
       shares of Beyond Meat’s common stock. Given that the price per share of Beyond Meat’s
22
       common stock at the close of trading on March 28, 2023 was $15.68, Defendant Segal
23
       owned approximately $346,184 worth of Beyond Meat stock.
24
             53.   For the fiscal year ended December 31, 2022, Defendant Waller received
25
       $130,907 in total compensation from the Company including, $62,500 in fees earned or
26
       paid in cash and $68,407 in stock awards. For the fiscal year ended December 31, 2021,
27
       Defendant Waller received $149,153 in total compensation from Beyond Meat. This
28
                                                 17
                             Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 19 of 55 Page ID #:19



 1
       included $61,753 in fees earned or paid in cash, and $87,400 in stock awards. For the fiscal
 2
       year ended December 31, 2020, Defendant Waller received $199,439 in total
 3
       compensation. This included $60,500 in fees earned or paid in cash and $138,939 in stock
 4
       awards.
 5
             54.    The 2023 proxy Statement stated the following about Defendant Waller:
 6
             Kathy N. Waller has served as a member of our board of directors since
 7
             November 2018. Ms. Waller retired from The Coca-Cola Company (NYSE:
 8           KO) in March 2019 after more than 30 years of service, most recently as
             Executive Vice President, Chief Financial Officer and President, Enabling
 9
             Services prior to her retirement. Ms. Waller joined The Coca-Cola Company
10           in 1987 as a senior accountant in the Accounting Research Department and
             served in a number of accounting and finance roles of increasing
11
             responsibility. From July 2004 to August 2009, Ms. Waller served as Chief of
12           Internal Audit. In December 2005, she was elected Vice President of The
             Coca-Cola Company, and in August 2009, she was elected Controller. In
13
             August 2013, she became Vice President, Finance and Controller, assuming
14           additional responsibilities for corporate treasury, corporate tax and finance
             capabilities, and served in that position until April 2014, when she was
15
             appointed Chief Financial Officer and elected Executive Vice President. Ms.
16           Waller assumed expanded responsibility for The Coca-Cola Company’s
             strategic governance area when she was also appointed to serve as President,
17
             Enabling Services, on May 1, 2017. Ms. Waller has been a member of the
18           board of directors of Delta Air Lines, Inc. (NYSE: DAL) since July 2015, and
             currently serves on its Audit and Risk Management Committee. Ms. Waller
19
             has been a member of the board of directors of CGI Inc. (NYSE: GIB) since
20           December 2018 and currently serves on its Audit and Risk Management
             Committee. Ms. Waller joined the board of directors of Candence Bank
21
             (NYSE: CADE) in May 2019 and serves on its Credit Risk Committee and
22           Executive Compensation and Board of Trustee of Spelman College and The
             Woodruff Arts Center. In February 2022, Ms. Waller was appointed
23
             Executive Director of the Atlanta Committee for Progress, a public/private
24           partnership between the cites top business. Civic and academic leader, and the
             Mayor of Atlanta. She received a BA degree in History from the University
25
             of Rochester and an MBA in Accounting and Finance from the Simon
26           Business School at the University of Rochester. We believe Ms. Waller is
             qualified to serve on our board of directors because she has more than 30 years
27
             of experience in accounting and finance at a major public company.
28
                                                   18
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 20 of 55 Page ID #:20



 1
                      FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
 2
             55.    By reason of their positions as officers, directors, and/or fiduciaries of Beyond
 3
       Meat and because of their ability to control the business and corporate affairs of Beyond
 4
       Meat, the Individual Defendants owed Beyond Meat and its shareholders fiduciary
 5
       obligations of trust, loyalty, good faith, and due care, and were and are required to use their
 6
       utmost ability to control and manage Beyond Meat in a fair, just, honest, and equitable
 7
       manner. The Individual Defendants were and are required to act in furtherance of the best
 8
       interests of Beyond Meat and its shareholders so as to benefit all shareholders equally.
 9
             56.    Each director and officer of the Company owes to Beyond Meat and its
10
       shareholders the fiduciary duty to exercise good faith and diligence in the administration
11
       of the Company and in the use and preservation of its property and assets and the highest
12
       obligations of fair dealing.
13
             57.    The Individual Defendants, because of their positions of control and authority
14
       as directors and/or officers of Beyond Meat, were able to and did, directly and/or indirectly,
15
       exercise control over the wrongful acts complained of herein.
16
             58.    To discharge their duties, the officers and directors of Beyond Meat were
17
       required to exercise reasonable and prudent supervision over the management, policies,
18
       controls, and operations of the Company.
19
             59.    Each Individual Defendant, by virtue of his or her position as a director and/or
20
       officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty,
21
       good faith, and the exercise of due care and diligence in the management and
22
       administration of the affairs of the Company, as well as in the use and preservation of its
23
       property and assets. The conduct of the Individual Defendants complained of herein
24
       involves a knowing and culpable violation of their obligations as directors and officers of
25
       Beyond Meat, the absence of good faith on their part, or a reckless disregard for their duties
26
       to the Company and its shareholders that the Individual Defendants were aware or should
27
       have been aware posed a risk of serious injury to the Company. The conduct of the
28
                                                     19
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 21 of 55 Page ID #:21



 1
       Individual Defendants who were also officers and directors of the Company has been
 2
       ratified by the remaining Individual Defendants who collectively comprised Beyond
 3
       Meat’s Board at all relevant times.
 4
             60.    As senior executive officers and directors of a publicly-traded company
 5
       whose common stock was registered with the SEC pursuant to the Exchange Act and traded
 6
       on NASDAQ, the Individual Defendants, had a duty to prevent and not to effect the
 7
       dissemination of inaccurate and untruthful information with respect to the Company’s
 8
       financial condition, performance, growth, operations, financial statements, business,
 9
       products, management, earnings, internal controls, and present and future business
10
       prospects, and had a duty to cause the Company to disclose omissions of material fact in
11
       its regulatory filings with the SEC all those facts described in this Complaint that it failed
12
       to disclose, so that the market price of the Company’s common stock would be based upon
13
       truthful and accurate information.
14
             61.    To discharge their duties, the officers and directors of Beyond Meat were
15
       required to exercise reasonable and prudent supervision over the management, policies,
16
       practices, and internal controls of the Company. By virtue of such duties, the officers and
17
       directors of Beyond Meat were required to, among other things:
18
                    (a)    ensure that the Company was operated in a diligent, honest, and prudent
19
       manner in accordance with the laws and regulations of Delaware, California, and the
20
       United States, and pursuant to Beyond Meat’s own Code of Conduct;
21
                    (b)    conduct the affairs of the Company in an efficient, business-like manner
22
       so as to make it possible to provide the highest quality performance of its business, to avoid
23
       wasting the Company’s assets, and to maximize the value of the Company’s stock;
24
                    (c)    remain informed as to how Beyond Meat conducted its operations, and,
25
       upon receipt of notice or information of imprudent or unsound conditions or practices, to
26
       make reasonable inquiry in connection therewith, and to take steps to correct such
27
       conditions or practices;
28
                                                    20
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 22 of 55 Page ID #:22



 1
                   (d)      establish and maintain systematic and accurate records and reports of
 2
       the business and internal affairs of Beyond Meat and procedures for the reporting of the
 3
       business and internal affairs to the Board and to periodically investigate, or cause
 4
       independent investigation to be made of, said reports and records;
 5
                   (e)      maintain and implement an adequate and functioning system of internal
 6
       legal, financial, and management controls, such that Beyond Meat’s operations would
 7
       comply with all applicable laws and Beyond Meat’s financial statements and regulatory
 8
       filings filed with the SEC and disseminated to the public and the Company’s shareholders
 9
       would be accurate;
10
                   (f)      exercise reasonable control and supervision over the public statements
11
       made by the Company’s officers and employees and any other reports or information that
12
       the Company was required by law to disseminate;
13
                   (g)      refrain from unduly benefiting themselves and other Company insiders
14
       at the expense of the Company; and
15
                   (h)      examine and evaluate any reports of examinations, audits, or other
16
             financial information concerning the financial affairs of the Company and to make
17
             full and accurate disclosure of all material facts concerning, inter alia, each of the
18
             subjects and duties set forth above.
19
             62.   Each of the Individual Defendants further owed to Beyond Meat and the
20
       shareholders the duty of loyalty requiring that each favor Beyond Meat’s interest and that
21
       of its shareholders over their own while conducting the affairs of the Company and refrain
22
       from using their position, influence, or knowledge of the affairs of the Company to gain
23
       personal advantage.
24
             63.   At all times relevant hereto, the Individual Defendants were the agents of each
25
       other and of Beyond Meat and were at all times acting within the course and scope of such
26
       agency.
27

28
                                                    21
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 23 of 55 Page ID #:23



 1
             64.    Because of their advisory, executive, managerial, and directorial positions
 2
       with Beyond Meat, each of the Individual Defendants had access to adverse, non-public
 3
       information about the Company.
 4
             65.    The Individual Defendants, because of their positions of control and authority,
 5
       were able to and did, directly or indirectly, exercise control over the wrongful acts
 6
       complained of herein, as well as the contents of the various public statements issued by
 7
       Beyond Meat.
 8
               CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
 9
                                  BY THE INDIVIDUAL DEFENDANTS
10
             66.    In committing the wrongful acts alleged herein, the Individual Defendants
11
       have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
12
       concert with and conspired with one another in furtherance of their wrongdoing. The
13
       Individual Defendants caused the Company to conceal the true facts as alleged herein. The
14
       Individual Defendants further aided and abetted and/or assisted each other in breaching
15
       their respective duties.
16
             67.    The purpose and effect of the conspiracy, common enterprise, and/or common
17
       course of conduct was, among other things, to facilitate and disguise the Individual
18
       Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment, and
19
       waste of corporate assets.
20
             68.    The Individual Defendants accomplished their conspiracy, common
21
       enterprise, and/or common course of conduct by causing the Company purposefully,
22
       recklessly, or negligently to conceal material facts, fail to correct such misrepresentations,
23
       and violate applicable laws. In furtherance of this plan, conspiracy, and course of conduct,
24
       the Individual Defendants collectively and individually took the actions set forth herein.
25
       Because the actions described herein occurred under the authority of the Board, each of the
26
       Individual Defendants who are directors of Beyond Meat was a direct, necessary, and
27

28
                                                     22
                                  Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 24 of 55 Page ID #:24



 1
       substantial participant in the conspiracy, common enterprise, and/or common course of
 2
       conduct complained of herein.
 3
             69.      Each of the Individual Defendants aided and abetted and rendered substantial
 4
       assistance in the wrongs complained of herein. In taking such actions to substantially assist
 5
       the commission of the wrongdoing complained of herein, each of the Individual Defendants
 6
       acted with actual or constructive knowledge of the primary wrongdoing, either took direct
 7
       part in, or substantially assisted the accomplishment of that wrongdoing, and was or should
 8
       have been aware of his or her overall contribution to and furtherance of the wrongdoing.
 9
       At all times relevant hereto, each of the Individual Defendants was the agent of each of the
10
       other Individual Defendants and of Beyond Meat and was at all times acting within the
11
       course and scope of such agency.
12
                     BEYOND MEAT’S CODE OF BUSINESS CONDUCT AND ETHICS
13
             70.      The Company’s Code of Conduct states that it “provide[s] guidance
14
       applicable to all members of the Company’s Board of Directors (‘Board’) and officers,
15
       employees, independent contractors, and consultants of the Company (all such persons for
16
       purposes of this Code, ‘employees’),” and that the Company “is committed to promoting
17
       high standards of honest and ethical business conduct and compliance with applicable laws,
18
       rules and regulations.”
19            71. The Code of Conduct also states that it the Company “expects all of its
20
       directors, executives, managers and other supervisory personnel to act with honesty and
21

22     integrity.”

23           72.      In a section titled, “Legal Compliance,” the Code of Conduct states:
24
             All employees must always obey the law while performing their duties to the
25           Company. The Company’s success depends upon each employee operating
26           within legal guidelines and cooperating with authorities. It is essential that all
             employees know and understand the legal and regulatory requirements that
27           apply to the Company’s business and to their specific area of responsibility.
28           While an employee is not expected to have complete mastery of these laws,
                                                     23
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 25 of 55 Page ID #:25



 1             rules and regulations, employees are expected to be able to recognize
 2             situations that require consultation with others to determine the appropriate
               course of action.
 3
               73.   In a section titled “Insider Trading,” the Code of Conduct states in relevant
 4
       part:
 5             Every employee is prohibited from using “inside” or material nonpublic
 6             information about the Company, or about companies with which the Company
               does business, in connection with buying or selling the Company’s or such
 7             other companies’ securities, including “tipping” others who might make an
 8             investment decision on the basis of this information. It is illegal, and it is a
               violation of this Code, the Company’s Insider Trading Policy (the “Insider
 9             Trading Policy”) and other Company policies, to tip or to trade on inside
10             information. Employees who have access to inside information are not
               permitted to use or share that inside information for stock trading purposes or
11             for any other purpose except to conduct Company business. Employees must
12             exercise the utmost care when in possession of material nonpublic
               information. The Insider Trading Policy provides guidance on the types of
13             information that might be nonpublic and material for these purposes, and
14             guidelines on when and how an employee may purchase or sell shares of
               Company stock or other Company securities.
15

16             74.   In a section titled, “Financial Integrity; Public Reporting,” the Code of
17     Conduct states, in relevant part:
18
               The Company strives to maintain integrity of the Company’s records and
19             public disclosure. The Company’s corporate and business records, including
20             all supporting entries to the Company’s books of account, must be completed
               honestly, accurately, and understandably. The Company’s records are
21             important to investors and creditors. They serve as a basis for managing the
22             Company’s business and are important in meeting the Company’s obligations
               to business partners, suppliers, vendors, creditors, employees and others with
23             whom the Company does business. The Company depends on the books,
24             records and accounts accurately and fairly reflecting, in reasonable detail, the
               Company’s assets, liabilities, revenues, costs and expenses, as well as all
25             transactions and changes in assets and liabilities
26             …
27             The Company’s disclosure controls and procedures are designed to help
               ensure that the Company’s reports and documents filed with or submitted to
28
                                                     24
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 26 of 55 Page ID #:26



 1          the U.S. Securities and Exchange Commission (the “SEC”) and other public
 2          disclosures are complete, fair, accurate, fairly present the Company’s
            financial condition and results of operations and are timely and
 3          understandable. Employees who collect, provide or analyze information for
 4          or otherwise contribute in any way in preparing or verifying these reports
            should be familiar with and adhere to all disclosure controls and procedures
 5          and generally assist the Company in producing financial disclosures that
 6          contain all of the information about the Company that is required by law and
            would be important to enable investors to understand the Company’s business
 7          and its attendant risks. These control and procedures include, but are not
 8          limited to, the following:

 9                • No employee may take or authorize any action that would cause the
10                  Company’s financial records or financial disclosure to fail to comply
                    with generally accepted accounting principles, the rules and regulations
11                  of the SEC or other applicable laws, rules and regulations;
12                • All employees must cooperate fully with the Company’s finance
                    department, as well as the Company’s independent auditors and legal
13                  counsel, respond to their questions with candor and provide them with
14                  complete and accurate information to help ensure that the Company’s
                    books and records, as well as its reports filed with the SEC, are accurate
15
                    and complete; and
16                • No employee should knowingly make (or cause or encourage any other
                    person to make) any false or misleading statement in any of the
17
                    Company’s reports filed with the SEC or knowingly omit (or cause or
18                  encourage any other person to omit) any information necessary to make
                    the disclosure in any of such reports accurate in all material respects.
19

20          75.      The section continues:
21

22          In connection with the preparation of the financial and other disclosures that
            the Company makes to the public, including by press release or filing a
23
            document with the SEC, directors must, in addition to complying with all
24          applicable laws, rules and regulations, follow these guidelines:
25
            • Act honestly, ethically, and with integrity;
            • Comply with this Code;
26          • Endeavor to ensure complete, fair, accurate, timely and understandable
27             disclosure in the Company’s filings with the SEC;

28
                                                     25
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 27 of 55 Page ID #:27



 1               • Raise questions and concerns regarding the Company’s public disclosures
 2                 when necessary and ensure the such questions and concerns are
                   appropriately addressed;
 3               • Act in good faith in accordance with the director’s business judgement,
 4                 without misrepresenting material facts or allowing independent judgement
                   to be subordinated by others; and
 5               • Comply with the Company’s disclosure controls and procedures and
 6                 internal controls over financial reporting.
 7
                 76.   In a section titled, “Competition and Fair Dealing,” the Code of Conduct
 8
       states:
 9

10               The Company strives to compete vigorously and to gain advantages over its
                 competitors through superior business performance, not through unethical or
11
                 illegal business practices. No employee may through improper means acquire
12               proprietary information from others, possess trade secret information or
                 induce disclosure of confidential information from past or present employees
13
                 of other companies. If an employee becomes aware of the improper
14               acquisition of this type of information, the employee should report it
                 immediately.
15

16               Employees are expected to deal fairly and honestly with anyone with whom
                 they have contact in the course of performing their duties to the Company.
17
                 The making of false or misleading statements about the Company’s
18               competitors is prohibited by this Code, inconsistent with the Company’s
                 reputation for integrity and harmful to the Company’s business. Employees
19
                 may not take unfair advantage of anyone through manipulation, concealment,
20               abuse of privileged information, misuse of confidential information,
                 misrepresentation of material facts or any other unfair business practice.
21

22               77.   In a section titled, “Confidentiality,” the Code of Conduct states the following,
23     in relevant part:
24
                 Employees must not share confidential Company information, or any
25               confidential information of a business partner, supplier or vendor with anyone
26               who has not been authorized to receive it, except when disclosure is
                 authorized or legally mandated. Unauthorized use or distribution of this
27               information is extremely serious; it would violate the confidential information
28               and invention assignment agreement or similar agreement (including
                                                       26
                                  Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 28 of 55 Page ID #:28



 1           consulting or contractor agreement) and it could be illegal and result in civil
 2           liability or criminal penalties. It would also violate the Company’s trust in an
             employee, and the trust of a business partner, supplier or vendor in the
 3           Company.
 4
             78.    In a section titled, “Compliance Standards and Procedures,” the Code of
 5
       Conduct states the following, in relevant part:
 6

 7           If an employee is aware of a suspected or actual violation of this Code by
             others, it is the employee’s responsibility to report it. Employees and directors
 8
             must make an immediate report of any suspected or actual violations (whether
 9           or not based on personal knowledge) of applicable law or regulations or the
             Anti-Corruption Policy.
10

11           79.    In violation of the Code of Conduct, the Individual Defendants conducted
12     little, if any, oversight of the materially false and misleading statements and/or omissions
13     (which the Individual Defendants engaged in and/or permitted despite being aware of it),
14     or the Company’s engagement in the Individual Defendants’ scheme to issue materially
15     false and misleading statements, and to facilitate and disguise the Individual Defendants’
16     violations of law, including breaches of fiduciary duty, gross mismanagement, and
17     violations of the Exchange Act. Also, in violation of the Code of Conduct, the Individual
18     Defendants failed to comply with laws and regulations, conduct business in an honest and
19     ethical manner, and properly report violations of the Code of Conduct.
20                        ADDITIONAL CORPORATE GOVERNANCE
21           Audit Committee Charter
22           80.    Beyond Meat maintains an Audit Committee Charter (the “Audit Charter”)
23           81.    In a section title “Purpose” the Audit Charter states, in relevant part:
24
             The purpose of the Audit Committee (the “Committee”) of the board of
25
             directors (the “Board”) of Beyond Meat, Inc., a Delaware corporation (the
26           “Company”), is to: (A) assist the Board in overseeing (1)the integrity of the
             Company’s financial statements, (2) the Company’s compliance with legal
27
             and regulatory requirements, (3) the independent auditor’s qualifications and
28           independence, and (4) the performance of the Company’s internal audit
                                                    27
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 29 of 55 Page ID #:29



 1           function and independent auditors; (B) provide such reports as may be
 2           required of an audit committee under the rules and regulations promulgated
             under the Securities Exchange Act of 1934, as amended (the “Exchange Act”);
 3           and (C) provide oversight with respect to ethical conduct and any related
 4           matters. The Committee is not responsible, however, for planning or
             conducting audits, or determining whether the Company’s financial
 5           statements are complete and accurate or in accordance with generally
 6           accepted accounting principles (“GAAP”).

 7
             82.    In a section titles “Authority & Responsibility” the Audit Charter states, in
 8
       relevant part:
 9

10           4.     At least annually, obtain and review a report by the independent auditor
11           describing: the firm’s internal quality-control procedures; any material issues
             raised by the most recent internal quality control review, or peer review, of
12           the firm, or by any inquiry or investigation by governmental or professional
13           authorities, within the preceding five years, respecting one or more
             independent audits carried out by the firm, and any steps taken to deal with
14           any such issues; and (to assess the auditor’s independence) all relationships
15           between the independent auditor and the Company. Ensure the receipt of, and
             evaluate the written disclosures and the letter that the independent auditor
16           submits to the Committee regarding the auditor’s independence in accordance
17           with applicable requirements of the PCAOB regarding the independent
             accountant’s communications with the audit committee concerning
18           independence, discuss such reports with the auditor, oversee the independence
19           of the independent auditor and, if so determined by the Committee in response
             to such reports, take appropriate action to address issues raised by such
20           valuation or recommend such action to the full Board.
21           …
             13. Provide a report in the Company’s proxy statement in accordance with
22           the rules and regulations of the SEC.
23           …
24           26. Review and assess the Company’s policies on corporate communications,
             insider trading, and ethics.
25           …
26           32.    Assist the Risk Committee and Chief Legal Officer in an annual review
             and assessment of the Company’s code of business conduct and ethics and
27           recommend changes for approval by the Board, and assist the Risk Committee
28
                                                   28
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 30 of 55 Page ID #:30



 1           and Chief Legal Officer in monitoring compliance with the Company’s code
 2           of business conduct and ethics
             …
 3           33.    Review with the full Board, any issues that arise with respect to the
 4           quality or integrity of the Company’s financial statements, the Company’s
             compliance with legal or regulatory requirements, the performance and
 5           independence of the Company’s independent auditor, and the performance
 6           and effectiveness of the internal audit function.

 7
             83.     In violation of the Code of Conduct, the Individual Defendants conducted
 8
       little, if any, oversight of the Company’s engagement in the Individual Defendants’ scheme
 9
       to issue materially false and misleading statements to the public, to facilitate and disguise
10
       the Individual Defendants’ violations of law, including breaches of their fiduciary duties,
11
       unjust enrichment, gross mismanagement, waste of corporate assets, violations of the
12
       Exchange Act, and aiding and abetting thereof. In further violation of the Code of Conduct
13
       and relevant corporate governance the Individual Defendants while employed at Beyond
14
       Meat failed to avoid conflict of interests or the appearance of conflicts of interest; maintain
15
       the accuracy of Company records; protect and ensure the efficient use of Company assets;
16
       comply with all applicable laws, rules, and regulations; properly report violations of the
17
       Conde of Conduct and applicable laws, rules, and regulations. Moreover, the Individual
18
       Defendants, during the Relevant Period, failed to secure and/or disclose any waivers of the
19
       Code of Conduct granted by the Board, which constitutes a further violation of the Code
20
       of Conduct.
21
                              INDIVIDUAL DEFENDANTS’ MISCONDUCT
22
             Relevant Background
23
             84.     Beyond Meat is a California-based global producer of plant-based meat
24
       products, including vegan beef, pork, and poultry. The Company offers products such as
25
       the Beyond Burger, Beyond Sausages, Beyond Meatballs, and Beyond Pepperoni. The
26
       Company was founded in 2009. The Company seeks to build “meat directly from plants”
27

28
                                                     29
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 31 of 55 Page ID #:31



 1
       by accurately replicating the look, taste, and texture of animal meat using only vegan, non-
 2
       genetically modified ingredients.
 3
             85.    The Company first found success creating small, sample-sized prototypes of
 4
       its product offerings, and then received immense support from venture capital and celebrity
 5
       investors. Beyond Meat went public in 2019 as the best-performing Initial Public Offering
 6
       (“IPO”) in nearly two decades, with shares surging more than 163% in the first day of
 7
       trading.
 8
             86.    Following the success of its IPO, the Company announced it entered
 9
       numerous high-profile partnerships with prominent foodservice brands including
10
       Starbucks, McDonalds, KFC, Pizza Hut, and Taco Bell. According to a Company
11
       spokesperson, when pitching to these foodservice brands, Beyond Meat would “show
12
       foodservice customers prototypes to illustrate the art of the possible.” Beyond Meat made
13
       assurances to investors that all new products are subject to Beyond Meat’s “extensive”
14
       testing programs, to ensure not only the quality and fidelity of its products, but also that
15
       the products are “qualified through trial to ensure manufacturability.”
16
                                      False and Misleading Statements
17
             May 5, 2020 Conference Call
18
             87.    On May 5, 2020, Beyond Meat held its first quarter 2020 earnings conference
19
       call with analysts and investors. During that call, the Company presented several new and
20
       expanded partnerships, including a limited product test with McDonald’s in Canada that
21
       ran from January to April 2020.
22
             88.    During the call, when responding to a question raised as to why the test with
23
       McDonald’s in Canada ended in April without a widespread product launch, Defendant
24
       Brown stated, “for no negative reason at all…[W]e feel very good about our relationship
25
       with McDonald’s and what’s going to be happening both there and potentially elsewhere.”
26
             89.    When pushed to explain further why the test ended instead of expanding,
27
       Defendant Brown responded, “I can assure you there’s no issue with McDonald’s” and
28
                                                   30
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 32 of 55 Page ID #:32



 1
       “there’s been no change in information since we began this test and got good results in the
 2
       beginning and got good results at the end.”
 3
             June 10, 2020 William Blain Growth Stock Conference
 4
             90.   On June 10, 2020, Beyond Meat was present at the William Blair Growth
 5
       Stock Conference with Defendant Brown as the Company’s representative. While at the
 6
       conference, Defendant Brown was asked for an update on the McDonald’s test and
 7
       potential launch. In response, Defendant Brown reiterated that “we had a very positive test
 8
       with them… I remain very optimistic about our business in foodservice.” Defendant Brown
 9
       further touted recent tests with Pizza Hut, Taco Bell, and KFC, claiming “it was a terrific
10
       launch” and “the tests are going well, went well.” Defendant Brown also stated. “our goal
11
       is to…provide the benefits from a nutritional perspective of meat to the consumer. So you
12
       get taste right, you get nutrition right, so you’re providing superior nutritional value
13
       proposition, and then you drop price below animal protein.”
14
             November 9, 2020 Conference Call
15
             91.    Next, on November 9, 2020, the Company held its third quarter 2020 earnings
16
       conference call with analysts and investors. During that call, analysts asked Defendant
17
       Brown for an update on the Company’s foodservice partnerships. Defendant Brown again,
18
       claimed that testing remained ongoing with foodservice providers, including Pizza Hut and
19
       Taco Bell. Further, Defendants Brown and Nelson each blamed Covid-19 for any delay in
20
       full-scale product launches, with Brown claiming “there’s [] testing going on, but I think
21
       folks are waiting for resumption of full economic activity before they start to really add
22
       things to their menu.”
23
             March 1, 2021 10-K
24
             92.    On March 1, 2021, Beyond Meat filed its 2020 10-K with the SEC for the
25
       fiscal year ended December 31, 2020. Defendants Brown, Nelson, Goldman, Lane, Segal,
26
       and Waller signed the 2020 10-K. The 2020 10-K stated that “ingredients in our flavors are
27
       qualified through trials to ensure manufacturability” and that “[f]lavors are extensively
28
                                                     31
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 33 of 55 Page ID #:33



 1
       tested prior to introduction to ensure finished product attributes such as taste, texture,
 2
       aroma, and appearance are not negatively impacted.”
 3
             93.    The statements in ¶¶ 87-92 were materially false and/or misleading and failed
 4
       to disclose material adverse facts about the Company’s business, operations, and prospects.
 5
       Specifically, the identified statements failed to disclose, inter alia, that: (1) the Company
 6
       was unable to meet the scale specified by its partners due to issues with scaling production;
 7
       (2) delays in decision making and misalignment created production delays; (3) the
 8
       Company misrepresented the strength of its partnerships; and (4) the Company failed to
 9
       maintain adequate internal controls. As a result of the foregoing, the Company’s public
10
       statements about its business, operations, and prospects were materially false and
11
       misleading and/or lacked a reasonable basis at all relevant times.
12
             2021 Proxy Statement
13
             94.    On April 9, 2021, Beyond Meat filed its 2021 Proxy Statement. Defendants
14
       Brown, Goldman, Grimes, Lane, Pant, Segal, and Waller solicited the Proxy Statement
15
       pursuant to Section 14(a) of the Exchange Act, which contained material misstatements
16
       and omissions.
17
             95.    The 2021 Proxy Statement was false and misleading because, despite
18
       assertions to the contrary, the Company’s Code of Conduct was not followed, as evidenced
19
       by the numerous false and misleading statements and/or omissions alleged herein, and the
20
       Individual Defendants failures to maintain adequate internal control and report violations
21
       of the Code of Conduct.
22
             96.    The 2021 Proxy Statement called for shareholders’ approval of: (1) the
23
       election of three Class II directors to serve until the Company’s 2024 annual meeting of
24
       stockholders and until their successors are duly elected and qualified; (2) ratification of the
25
       appointment of Deloitte & Touche LLP as its independent registered public accounting
26
       firm for the year ending December 31, 2021; and (3) advisory (non-binding) vote on the
27

28
                                                     32
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 34 of 55 Page ID #:34



 1
       frequency of future stockholder advisory votes to approve the compensation paid to the
 2
       company’s named executive officers.
 3
             97.    The Individual Defendants caused the 2021 Proxy statement to be false and
 4
       misleading because they failed to disclose material facts necessary to make the statements
 5
       made not false and misleading. Specifically, the Individual Defendants willfully or
 6
       recklessly made and/or caused the Company to make false and misleading statements to
 7
       the investing public that failed to disclose, inter alia, that: (1) the Company was unable to
 8
       meet the scale specified by the Company’s partners due to issues with scaling production;
 9
       (2) delayed decision making and misalignment created production delays; (3) the Company
10
       misrepresented the strength of its partnerships; and (4) the Company failed to maintain
11
       adequate internal controls.
12
             98.    As a result of the foregoing, the Company’s public statements and omissions
13
       were materially false and misleading at all relevant times.
14
             99.    As a result of Defendants Brown, Goldman, Grimes, Lane, Pant, Segal, and
15
       Waller soliciting the 2021 Proxy Statement, Company shareholders voted for, inter alia,
16
       the re-election of board members who were violating their fiduciary duties, thereby
17
       enabling the Individual Defendants to perpetuate the misconduct.
18
          The Truth Begins to Emerge While False and Misleading Statements Continue
19
             100. On October 22, 2021, Beyond Meat announced a reduction to its third quarter
20
       net revenues outlook from between $120 million and $140 million to just $106 million, a
21
       decline of 12% to 25%. As part of its announcement, the Company also revealed that the
22
       Company’s expenses were continuing to rise.
23
             101. On this news, the price of Beyond Meat stock declined by $12.82 per share,
24
       or 12%, from a closing price of $108.62 per share on October 21, 2021, to a closing price
25
       of $95.80 per share on October 22, 2021.
26
             102. Next, on November 10, 2021, after market close, Beyond Meat announced a
27
       $1.8 million inventory write-off, blaming Covid-19 and costs of product repackaging.
28
                                                    33
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 35 of 55 Page ID #:35



 1
             103. On this news, the price of Beyond Meat stock declined by $12.55 per share,
 2
       or nearly 13%, from a closing price of $94.48 per share on November 10, 2021, to a closing
 3
       price of $81.93 per share on November 11, 2021.
 4
             November 10, 2021 Conference Call
 5
             104. The Individual Defendants, however, continued to assure investors of the
 6
       Company’s manufacturing capabilities and the strength of its partnerships. For example,
 7
       during the November 10, 2021 earnings conference call with analysts and investors,
 8
       Defendant Brown continued to attribute the Company’s poor financial results and expiring
 9
       inventory to Covid-19, stating “there’s just unusual consumer behavior… whether it’s
10
       people because of the Delta variant spending less time in the retail markets, being less open
11
       to trial in the absence of sampling programs.” Defendant Brown also claimed that the
12
       Company “overcame numerous technical challenges” in its partnership with Pizza Hut to
13
       provide Beyond Pepperoni.
14
             105. The statements above were materially false and misleading because the
15
       Company was unable to manufacture its products at the scale specified by its partners. As
16
       such, the Company amassed inventory that it was unable to sell.
17
             106. A week later, on November 17, 2021, Bloomberg published an article which
18
       highlighted the delays in product roll out and the execution challenges Beyond Meat was
19
       facing. That article, citing five former Beyond Meat employees, made clear the Company’s
20
       ongoing scaling problems and how those problems were tarnishing the Company’s
21
       relationships with potential partners.
22
             Bloomberg and Yahoo! Finance Articles
23
             107.    On December 9, 2021, after market close, Bloomberg reported that Taco Bell
24
       had cancelled a planned test of Beyond Carne Asada due to ongoing quality concerns. On
25
       December 10, 2021, Yahoo! Finance, also reported that Taco Bell had cancelled the
26
       planned test. Both articles discuss how Taco Bell was dissatisfied with the quality of the
27

28
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                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 36 of 55 Page ID #:36



 1
       Company’s samples. According to those reports, this cancellation was further evidence of
 2
       ongoing problems Beyond Meat faced in bringing its products to market at scale.
 3
             108. On this news, the price of Beyond Meat stock declined by $5.58 per share, or
 4
       nearly 8%, from a closing price of $70.09 per share on December 9, 2021, to a closing
 5
       price of $64.51 per share on December 10, 2021.
 6
             February 23, 2022 Conference Call
 7
             109.   Following the media reports, Defendants continued to assure investors that
 8
       Beyond Meat’s product testing was going well. For instance, on February 23, 2022, the
 9
       Company held its fourth quarter 2021 earnings conference call with analysts and investors.
10
       On that call, Defendant Brown stated, “with the resumption of our broader sampling
11
       program, this period of delay appears to be coming to an end, and several products are in
12
       various stages of market entry or expansion.
13
             March 2, 2022 10-K
14
             110. On March 2, 2022, Beyond Meat filed its 2021 Form 10-K with the SEC for
15
       the fiscal year ended December 31, 2021. The 2021 10-K was signed by Defendants
16
       Brown, Nelson, Goldman, Lane, Segal, and Waller. The 2021 10-K again stated that
17
       “ingredients in our flavors are qualified through trials to ensure manufacturability” and
18
       “[f]lavors are extensively tested prior to introduction to ensure finished product attributes
19
       such as taste, texture, aroma, and appearance are not negatively impacted.”
20
             111. The statements in paragraphs ¶¶100-110 were materially false and misleading.
21
       Beyond Meat was unable to manufacture its products at the scale specified by its partners.
22
       Furthermore, the Company suffered from widespread scaling issues, particularly with
23
       misalignment and delayed decision-making, which led to corresponding production delays.
24
       The scaling issues were exacerbated by Beyond Meat’s disjointed production lines. These
25
       problems led to high prices of product that the Company’s partners balked at.
26
             2022 Proxy Statement
27

28
                                                    35
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 37 of 55 Page ID #:37



 1
             112. On April 12, 2022, Beyond Meat filed the 2022 Proxy Statement with the SEC
 2
       pursuant to Section 14(a) of the Exchange Act solicitated on behalf of Defendant Brown,
 3
       Goldman, Grimes, Lane, Pant, Segal, and Waller and. which contained material
 4
       misstatements and omissions.
 5
             113. The 2022 Proxy Statement was false and misleading because, despite
 6
       assertions to the contrary the Company’s Code of Conduct was not followed, as evidenced
 7
       by the numerous false and misleading statements and/or omissions alleged herein, and the
 8
       Individual Defendants’ failures to report violations of the Code of Conduct.
 9
             114. The 2022 Proxy Statement called for the shareholders’ approval of: (1) the
10
       election of three Class III directors to serve until the Company’s 2025 annual meeting of
11
       stockholders and until their successors are duly elected and qualified; (2) ratification of the
12
       appointment of Deloitte & Touche LLP as the Company’s independent registered public
13
       accounting firm for the year ending December 31, 2022; and (3) advisory (non-binding)
14
       vote to approve the compensation of the Company’s named executive officers.
15
             115. The 2022 Proxy Statement failed to disclose the same material information
16
       identified in ¶97. As a result of the foregoing, the Company’s public statements and
17
       omissions were materially false and misleading at all relevant times.
18
             116. As a result of Defendants Brown, Goldman, Grimes, Lane, Pant, Segal, and
19
       Waller soliciting the 2022 Proxy Statement, shareholders voted to, inter alia, the re-
20
       election of board members who were violating their fiduciary duties, thereby enabling the
21
       Individual Defendants to perpetuate the misconduct.
22
                                           The Truth Emerges
23
             117. On October 14, 2022, before market open, Beyond Meat announced the
24
       departure of several of its top executives, including the COO (Doug Ramsey), CGO
25
       (Deanna Jurgens), and CFO (Defendant Hardin)
26

27

28
                                                     36
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 38 of 55 Page ID #:38



 1
             118. On this news, the price of Beyond Meat stock declined by $1.43 per share, or
 2
       over 9.6%, from a closing price of $14.78 per share on October 13, 2022, to a closing price
 3
       of $13.35 per share on October 14, 2022.
 4
                                     DAMAGES TO BEYOND MEAT
 5
             119. As a direct and proximate result of the Individual Defendants’ conduct,
 6
       Beyond Meat has lost and expended, and will lose and expend, many millions of dollars.
 7
             120. Such expenditures include, but are not limited to, legal fees associated with
 8
       the Securities Class Action filed against, the Company, its Founder and CEO, its former
 9
       CFO (Nelson), and its former CFO (Hardin), and amounts paid to outside lawyers,
10
       accountants, and investigators in connection thereto.
11
             121. Such losses include, but are not limited to, excessive compensation and
12
       benefits paid to the Individual Defendants, including bonuses tied to the Company’s
13
       attainment of certain objectives and benefits paid to the Individual Defendants who
14
       breached their fiduciary duties to Beyond Meat.
15
             122. As a direct and proximate result of the Individual Defendants’ conduct,
16
       Beyond Meat has also suffered and will continue to suffer a loss of reputation and goodwill,
17
       and a “liar’s discount” that will plague Beyond Meat’s stock in the future due to the
18
       Company’s and the Individual Defendants’ false statements and omissions and the
19
       Individual Defendants’ breaches of fiduciary duties, unjust enrichment, and violations of
20
       the Exchange Act.
21
                                      DERIVATIVE ALLEGATIONS
22
             123. Plaintiff bring this action derivatively and for the benefit of Beyond Meat to
23
       redress injuries suffered, and to be suffered, as a result of the Individual Defendants’
24
       breaches of their fiduciary duties as directors and/or officers of Beyond Meat, waste of
25
       corporate assets, and unjust enrichment, gross mismanagement, and violations of the
26
       Exchange Act, as well as the aiding and abetting thereof.
27

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                                                   37
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 39 of 55 Page ID #:39



 1
             124. Beyond Meat is named solely as a nominal party in this action. This is not a
 2
       collusive action to confer jurisdiction on this Court that it would not otherwise have.
 3
             125. Plaintiff is, and has continuously been at all relevant times, a shareholder of
 4
       Beyond Meat. Plaintiff will adequately and fairly represent the interests of Beyond Meat
 5
       in enforcing and prosecuting its rights, and, to that end, have retained competent counsel,
 6
       experienced in derivative litigation, to enforce and prosecute this action.
 7
                                   DEMAND FUTILITY ALLEGATIONS
 8
             126. Plaintiff incorporates by reference and re-allege each and every allegation
 9
       stated above as if fully set forth herein.
10
             127. A pre-suit demand on the Board of Beyond Meat is futile and, therefore,
11
       excused. At the time of filing of this action, the Board consists of Defendants Brown,
12
       Goldman, Grimes, Lane, Pant, Segal, and Waller (collectively, the “Defendant-Directors”).
13
       Along with non-party directors Colleen Jay (“Jay”), and C. James Koch (“Koch”)
14
       (collectively, the “Directors”) Plaintiff need only to allege demand futility as to five of the
15
       nine Directors that were on the Board at the time this complaint is filed.
16
             128. Demand is excused as to all of the Director-Defendants because each one of
17
       them faces, individually and collectively, a substantial likelihood of liability as a result of
18
       the scheme they engaged in knowingly or recklessly, which caused the Company to make
19
       false and misleading statements and omissions of material fact. These actions render the
20
       Director-Defendants unable to impartially investigate the charges and decide whether to
21
       pursue an action against themselves and the other perpetrators of this scheme.
22
             129. In complete abdication of their fiduciary duties, the Director-Defendants
23
       either knowingly or recklessly participated in the making and/or causing the Company to
24
       make materially false and misleading statements alleged herein. The fraudulent scheme
25
       was intended to make the Company appear more profitable and attractive to investors.
26

27

28
                                                     38
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 40 of 55 Page ID #:40



 1
             130. As a result of the foregoing, the Defendant-Directors breached their fiduciary
 2
       duties, face a substantial likelihood of liability, are not disinterested, and demand upon
 3
       them is futile, and thus excused.
 4
             Defendant Brown
 5
             131. Additional reasons that demand on Defendant Brown is futile follow.
 6
       Defendant Brown is the founder of Beyond Meat and has served as its President and CEO
 7
       since 2009. As Beyond Meat admits, he is a non-independent director. Beyond Meat
 8
       provides Defendant Brown with his principal occupation, and he receives significant
 9
       compensation in connection, including $6,770,871 during fiscal year 2022. As Founder,
10
       President, CEO, and director throughout the Relevant Period, Defendant Brown was
11
       ultimately responsible for all of the false and misleading statements and omissions that
12
       were made by or on behalf of the Company. Furthermore, Defendant Brown signed the
13
       2020 10-K, and 2021 10-K which contained false and misleading statements and/or
14
       omissions. As Beyond Meat’s top officer and as a trusted Company director, he conducted
15
       little, if any, oversight of the Company’s false and misleading statements; and participated
16
       in the scheme to make false and misleading statements and consciously disregarded his
17
       duties to monitor such controls over reporting and engagement in the schemes.
18
       Furthermore, Defendant Brown solicited the 2021 and 2022 Proxy Statements which
19
       contained false and misleading statements and omissions and led to him being re-elected
20
       as a member of the board. Moreover, Defendant Brown is a defendant in the Securities
21
       Class Action.
22
             132. For these reasons, too, Defendant Brown breached his fiduciary duties, faces
23
       a substantial likelihood of liability, is not independent or disinterested, and thus demand
24
       upon him is futile and, therefore, excused.
25
             Defendant Goldman
26
             133. Additional reasons that demand on Defendant Goldman is futile follow.
27
       Defendant Goldman serves as Chairman of the Board and has served as a Beyond Meat
28
                                                     39
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 41 of 55 Page ID #:41



 1
       director since February 2013 and Executive Chair from February 2013 to February 2020.
 2
       Defendant Goldman has received and continues to receive compensation for his role as a
 3
       director as described herein. Defendant Goldman also made two insider sales receiving
 4
       approximately $24.1 million in proceeds. Defendant Goldman also signed the 2020 10-K,
 5
       and 2021 10-K containing false and misleading statements and/or omissions. Furthermore,
 6
       Defendant Goldman solicited the 2021 and 2022 Proxy Statements which contained false
 7
       and misleading statements and/or omissions. As a trusted director, he conducted little, if
 8
       any, oversight of the Company’s false and misleading statements; and participated in the
 9
       scheme to make false and misleading statements and consciously disregarded his duties to
10
       monitor such controls over reporting and engagement in the schemes.
11
             134. For these reasons, too, Goldman breached his fiduciary duties, faces a
12
       substantial likelihood of liability, is not independent or disinterested, and thus demand
13
       upon him is futile and, therefore, excused.
14
             Defendant Grimes
15
             135. Additional reasons that demand on Defendant Grimes is futile follow.
16
       Director Grimes has served as a Beyond Meat director since May 2021, and a member of
17
       the Nominating and Corporate Governance Committee. Defendant Grimes has received
18
       and continues to receive compensation for her role as a director as described herein. As a
19
       board member, she conducted little, if any, oversight of the Company’s false and
20
       misleading statements; and participated in the scheme to make false and misleading
21
       statements and consciously disregarded her duties to monitor such controls over reporting
22
       and engagement in the schemes. Defendant Grimes also signed the 2021 10-K containing
23
       false and misleading statements and/or omissions. Furthermore, Defendant Grimes
24
       solicited the 2021 and 2022 Proxy Statements, which contained false and misleading
25
       statements and omissions, and led to her re-election as a member of the board.
26

27

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                                                     40
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 42 of 55 Page ID #:42



 1
             136. For these reasons too, Director Grimes breached her fiduciary duties, faces a
 2
       substantial likelihood of liability, is not independent or disinterested and thus demand upon
 3
       her is futile and therefore excused.
 4
             Defendant Lane
 5
             137. Additional reasons that demand on Defendant Lane is futile follow. Defendant
 6
       Lane has served as a Beyond Meat director since February 2015 and serves as a member
 7
       of the Human Capital Management and Compensation Committee. Defendant Lane has
 8
       received and continues to receive compensation for his role as a director as described
 9
       herein. Defendant Lane also made two insider sales receiving approximately $10.5 million
10
       in proceeds. Furthermore, Defendant Lane signed the 2020 10-K, and 2021 10-K which
11
       contained false and misleading statements and/or omissions. As a trusted director, he
12
       conducted little, if any, oversight of the Company’s false and misleading statements; and
13
       participated in the scheme to make false and misleading statements and consciously
14
       disregarded his duties to monitor such controls over reporting and engagement in schemes.
15
       Furthermore, Defendant Lane solicited the 2021 and 2022 Proxy Statements that contained
16
       false and misleading statements and omissions and led to him being re-elected as a member
17
       of the Board.
18
             138. For these reasons too, Defendant Lane breached his fiduciary duties, faces a
19
       substantial likelihood of liability, is not independent or disinterested, and thus demand
20
       upon him is futile and, therefore, excused.
21
             Defendant Pant
22
             139. Additional reasons that demand of Defendant Pant is futile follow. Defendant
23
       Pant has served as a Beyond Meat director since May 2021. Defendant Pant has received
24
       and continues to receive compensation for his role as director as described herein. As a
25
       trusted director, he conducted little, if any, oversight of the Company’s false and
26
       misleading statements; and participated in the scheme to make false and misleading
27
       statements and consciously disregarded his duties to monitor such controls over reporting
28
                                                     41
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 43 of 55 Page ID #:43



 1
       and engagements in the schemes. Defendant Pant also signed the 2021 10-K containing
 2
       false and misleading statements and/or omissions. Furthermore, Defendant Pant solicited
 3
       the 2021 Proxy Statement, which contained false and misleading statements and omissions,
 4
       and led to his re-election as a member of the board.
 5
             140. For these reasons too, Defendant Pant breached his fiduciary duties, faces a
 6
       substantial likelihood of liability, is not independent or disinterested, and thus demand
 7
       upon him is futile and, therefore, excused.
 8
             Defendant Segal
 9
             141. Additional reasons that demand on Defendant Segal is futile follow.
10
       Defendant Segal has served as a Beyond Meat director since November 2018 and serves
11
       as a member of the Audit Committee. Defendant Segal has received and continues to
12
       receive compensation for his role as director as described herein. As a trusted director, he
13
       conducted little, if any, oversight of the Company’s false and misleading statements; and
14
       participated in the scheme to make false and misleading statements and consciously
15
       disregarded his duties to monitor such controls over reporting and engagement in the
16
       schemes. Defendant Segal also signed the 2020 10-K and 2021 10-K, which contained false
17
       and misleading statements and/or omissions. Furthermore, Defendant Segal solicited the
18
       2021 Proxy Statement, which contained false and misleading statements and omission, and
19
       led to his re-election as a member of the board.
20
             142. For these reasons too, Defendant Segal breached his fiduciary duties, faces a
21
       substantial likelihood of liability, is not independent or disinterested, and thus demand
22
       upon him is futile and, therefore, excused.
23
             Defendant Waller
24
             143. Additional reasons that demand on Defendant Waller is futile follow.
25
       Defendant Waller has served as a Beyond Meat director since November 2018 and serves
26
       as the Chair of Audit Committee and as a member of the Human Capital Management and
27
       Compensation Committee. Defendant Waller received and continues to receive
28
                                                     42
                              Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 44 of 55 Page ID #:44



 1
       compensation for her role as a director as described herein. As a trusted director, she
 2
       conducted little, if any, oversight of the Company’s false and misleading statements; and
 3
       participated in the scheme to make false and misleading statements and consciously
 4
       disregarded her duties to monitor such control over reporting and engagement in the
 5
       schemes. Defendant Waller also signed the 2020 10-K, and 2021 10-K which contained
 6
       false and misleading statements and/or omissions. Furthermore, Defendant Waller solicited
 7
       the 2021 and 2022 Proxy Statements which contained false and misleading statements
 8
       and/or omissions.
 9
             144. For these reasons too, Defendant Waller breached her fiduciary duties, faces
10
       a substantial likelihood of liability, is not independent or disinterested, and thus demand
11
       upon her is futile and, therefore, excused.
12
             Audit Committee Defendants ( Segal, and Waller)
13
             145. Defendants-Director Segal, and Waller (the “Audit Committee Defendants”),
14
       served on the Company’s Audit Committee during the Relevant Period. Pursuant to the
15
       Company’s Audit Committee Charter, the Audit Committee Defendants were responsible
16
       for overseeing, inter alia, the integrity of Beyond Meat’s compliance with legal and
17
       regulatory requirements, matters implicating ethical concerns, and the adequacy of the
18
       Company’s internal controls. The Audit Committee Defendants failed to ensure the
19
       integrity of Beyond Meat’s internal controls, as they are charged to do under the Audit
20
       Committee Charter, which, among other things, allowed Beyond Meat to file filings with
21
       the SEC that made false and misleading statements.
22
             146. Therefore, the Audit Committee Defendants breached their fiduciary duties,
23
       are not disinterested, and demand is excused as to them.
24
                           Additional Reasons That Demand on the Board is Futile
25
             147. The Directors have longstanding business and personal relationships with
26
       each other and the other Individual Defendants that preclude them from acting
27
       independently and in the best interests of the Company and the shareholders. These
28
                                                     43
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 45 of 55 Page ID #:45



 1
       conflicts of interest precluded the Directors from adequately monitoring the Company’s
 2
       operations and internal controls and calling into question the Individual Defendants’
 3
       conduct. Thus, any demand on the Directors would be futile.
 4
             148. In violation of the Code of Conduct, the Directors conducted little, if any,
 5
       oversight of the Company’s false and misleading statements or the Company’s engagement
 6
       in the Individual Defendants’ scheme to issue materially false and misleading statements,
 7
       and to facilitate and disguise the Individual Defendants’ violations of law, including
 8
       breaches of fiduciary duty, gross mismanagement, and violations of the Exchange Act.
 9
       Also, in violation of the Code of Conduct, the Director-Defendants failed to comply with
10
       laws and regulations, conduct business in an honest and ethical manner, and properly report
11
       violations of the Code of Conduct. Thus, the Directors face a substantial likelihood of
12
       liability and demand is futile as to them.
13
             149. Beyond Meat has been and will continue to be exposed to significant losses
14
       due to the wrongdoing complained of herein, yet the Directors have not filed any lawsuits
15
       against themselves or others who were responsible for that wrongful conduct to attempt to
16
       recover for Beyond Meat any part of the damages Beyond Meat suffered and will continue
17
       to suffer thereby. Thus, any demand upon the Directors would be futile.
18
             150. The Individual Defendants’ conduct described herein and summarized above
19
       could not have been the product of legitimate business judgment as it was based on bad
20
       faith and intentional, reckless, or disloyal misconduct. Thus, none of the Directors can
21
       claim exculpation from their violations of duty pursuant to the Company’s charter (to the
22
       extent such a provision exists). As a majority of the Directors face a substantial likelihood
23
       of liability, they are self-interested in the transactions challenged herein and cannot be
24
       presumed to be capable of exercising independent and disinterested judgment about
25
       whether to pursue this action on behalf of the shareholders of the Company. Accordingly,
26
       demand is excused as being futile.
27

28
                                                    44
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 46 of 55 Page ID #:46



 1
             151. The acts complained of herein constitute violations of fiduciary duties owed
 2
       by Beyond Meat’s officers and directors, and these acts are incapable of ratification.
 3
             152. The Directors may also be protected against personal liability for their acts of
 4
       mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’
 5
       liability insurance if they caused the Company to purchase it for their protection with
 6
       corporate funds, i.e., monies belonging to the stockholders of Beyond Meat. If there is a
 7
       directors’ and officers’ liability insurance policy covering the Directors, it may contain
 8
       provisions that eliminate coverage for any action brought directly by the Company against
 9
       the Directors, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if
10
       the Directors were to sue themselves or certain of the officers of Beyond Meat, there would
11
       be no directors’ and officers’ insurance protection. Accordingly, the Directors cannot be
12
       expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this
13
       action is brought, such insurance coverage, if such an insurance policy exists, will provide
14
       a basis for the Company to effectuate a recovery. Thus, demand on the Directors is futile
15
       and, therefore, excused.
16
             153. If there is no directors’ and officers’ liability insurance, then the Directors will
17
       not cause Beyond Meat to sue the Individual Defendants named herein, since, if they did,
18
       they would face a large uninsured individual liability. Accordingly, demand is futile in that
19
       event, as well.
20
             154. Thus, for all of the reasons set forth above, all of the Directors, and, if not all
21
       of them, at least five of the Directors, cannot consider a demand with disinterestedness and
22
       independence. Consequently, a demand upon the Board is excused as futile.
23
                                                FIRST CLAIM
24
              Against Defendants Brown, Nelson, Goldman, Grimes, Lane, Pant, Segal, and
25
                         Waller for Violations of Section 14(a) of the Exchange Act
26
             155. Plaintiff incorporates by reference and realleges each and every allegation set
27
       forth above, as though fully set forth herein.
28
                                                    45
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 47 of 55 Page ID #:47



 1
              156. Section 14(a) of the Exchange Act provides that “[i]t shall be unlawful for any
 2
       person, by use of the mails or by any means or instrumentality of interstate commerce or
 3
       of any facility of a national securities exchange or otherwise, in contravention of such rules
 4
       and regulations as the [SEC] may prescribe as necessary or appropriate in the public
 5
       interest or for the protection of investors, to solicit or to permit the use of his name to solicit
 6
       any proxy or consent or authorization in respect of any security (other than an exempted
 7
       security) registered pursuant to section 12 of this title [15 U.S.C. § 78l].”
 8
              157. Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides
 9
       that no proxy statement shall contain “any statement which, at the time and in the light of
10
       the circumstances under which it is made, is false or misleading with respect to any material
11
       fact, or which omits to state any material fact necessary in order to make the statements
12
       therein not false or misleading.” 17 C.F.R. § 240.14a-9.
13
              158. Under the direction and watch of the Defendant-Directors, the 2021, and 2022
14
       Proxy Statements failed to disclose, inter alia, that: (1) the Company has been unable to
15
       meet the scale specified by its partners due to issues with scaling production; (2) delayed
16
       decision making and misalignment created production delays; (3) the Company
17
       misrepresented the strength of its partnerships; and (4) the Company failed to maintain
18
       adequate internal controls.
19
              159. Moreover, the 2021, and 2022 Proxy Statements were false and misleading
20
       when it discussed the Company’s Code of Conduct, due to the Individual Defendants’
21
       failure to abide by the Code of Conduct, and their engagement in or the tolerance of the
22
       false and misleading statements and/or omissions of material fact made by the Company.
23
              160. Defendants Brown, Nelson, Hardin Goldman, Lane, and Waller knew or
24
       should have known that by misrepresenting or failing to disclose the foregoing material
25
       facts, the statements contained in the 2021, and 2022 Proxy Statements were materially
26
       false and misleading. The misrepresentations and omissions were material to Plaintiff in
27
       voting on the matters set forth for shareholder determination in the 2021, and 2022 Proxy
28
                                                       46
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 48 of 55 Page ID #:48



 1
       Statements, including, but not limited to, election of directors and the ratification of an
 2
       independent auditor.
 3
             161. The false and misleading elements of the 2021 Proxy Statements led to the re-
 4
       election of Defendants Brown, and Lane, which allowed them to continue engaging in
 5
       and/or permitting the false statements. and to continue breaching their fiduciary duties to
 6
       Beyond Meat.
 7
             162. The false and misleading elements of the 2022 Proxy Statement led to the
 8
       reelection of Defendants Grimes, Pant, and Segal. Which allowed them to continue
 9
       engaging in and/or permitting the false statements and to continue breaching their fiduciary
10
       duties.
11
             163. The Company was damaged as a result of Defendants Brown, Goldman,
12
       Grimes, Lane, Pant, Segal, and Waller’s material misrepresentations and omissions in the
13
       2021, and 2022 Proxy Statements.
14
             164. Plaintiff on behalf of Beyond Meat has no adequate remedy at law.
15
                                               SECOND CLAIM
16
                      Against Individual Defendants for Breach of Fiduciary Duties
17
             165. Plaintiff incorporates by reference and re-alleges each and every allegation set
18
       forth above, as though fully set forth herein.
19
             166. Each Individual Defendant owed to the Company the duty to exercise candor,
20
       good faith, and loyalty in the management and administration of Beyond Meat’s business
21
       and affairs.
22
             167. Each of the Individual Defendants violated and breached his or her fiduciary
23
       duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
24
             168. The Individual Defendants’ conduct set forth herein was due to their
25
       intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
26
       herein. The Individual Defendants intentionally or recklessly breached or disregarded their
27
       fiduciary duties to protect the rights and interests of Beyond Meat.
28
                                                    47
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 49 of 55 Page ID #:49



 1
             169. In breach of their fiduciary duties, the Individual Defendants either engaged
 2
       in or permitted, and/or allowed the Company to engage in the material misrepresentations
 3
       and omissions.
 4
             170. In further breach of their fiduciary duties, the Individual Defendants failed to
 5
       maintain an adequate system of oversight, disclosure controls and procedures, and internal
 6
       controls.
 7
             171. In further breach of their fiduciary duties owed to Beyond Meat, the Individual
 8
       Defendants willfully or recklessly made and/or caused the Company to make false and
 9
       misleading statements and omissions of material fact that failed to disclose, inter alia, that:
10
       (1) the Company was unable to meet the scale specified by the Company’s partners due to
11
       issues with scaling production; (2) delayed decision making and misalignment created
12
       production delays; (3) the Company misrepresented the strength of its partnerships; and (4)
13
       the Company failed to maintain adequate internal controls.
14
             172. The Individual Defendants failed to correct and caused the Company to fail to
15
       rectify any of the wrongs described herein or correct the false and misleading statements
16
       and omissions of material fact referenced herein, rendering them personally liable to the
17
       Company for breaching their fiduciary duties.
18
             173. The Individual Defendants had actual or constructive knowledge that the
19
       Company issued materially false and misleading statements, and they failed to correct the
20
       Company’s public statements. The Individual Defendants had actual knowledge of the
21
       misrepresentations and omissions of material facts set forth herein, or acted with reckless
22
       disregard for the truth, in that they failed to ascertain and to disclose such facts, even though
23
       such facts were available to them. Such material misrepresentations and omissions were
24
       committed knowingly or recklessly.
25
             174. The Individual Defendants had actual or constructive knowledge that they had
26
       caused Beyond Meat to improperly engage in the fraudulent scheme set forth herein and to
27
       fail to maintain adequate internal controls. The Individual Defendants had actual
28
                                                      48
                                Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 50 of 55 Page ID #:50



 1
       knowledge that Beyond Meat was engaging in the fraudulent scheme set forth herein, and
 2
       that internal controls were not adequately maintained, or acted with reckless disregard for
 3
       the truth, in that they caused the Company to improperly engage in the fraudulent scheme
 4
       and to fail to maintain adequate internal controls, even though such facts were available to
 5
       them. The Individual Defendants, in good faith, should have taken appropriate action to
 6
       correct the schemes alleged herein and to prevent them from continuing to occur.
 7
             175. These actions were not a good-faith exercise of prudent business judgment to
 8
       protect and promote the Company’s corporate interests.
 9
             176. As a direct and proximate result of the Individual Defendants’ breaches of
10
       their fiduciary obligations, Beyond Meat has sustained and continues to sustain significant
11
       damages. As a result of the misconduct alleged herein, the Individual Defendants are liable
12
       to the Company.
13
             177. Plaintiff on behalf of Beyond Meat has no adequate remedy at law.
14
                                                THIRD CLAIM
15
                           Against Individual Defendants for Unjust Enrichment
16
             178. Plaintiff incorporates by reference and re-alleges each and every allegation set
17
       forth above, as though fully set forth herein.
18
             179. By their wrongful acts, violations of law, and/or false and misleading
19
       statements and omissions of material fact that they made and/or caused to be made, the
20
       Individual Defendants were unjustly enriched at the expense of, and to the detriment of,
21
       Beyond Meat.
22
             180. The Individual Defendants benefitted financially from the improper conduct
23
       and their making lucrative insider sales which included eight sales of approximately $58.5
24
       million by Defendant Nelson, two sales of approximately $24.1 million by Defendant
25
       Goldman and, two sales of approximately $10.5 million by Defendant Lane.
26
             181.    The Individual Defendants also received unjustly lucrative bonuses tied to
27
       the false and misleading statements, or received bonuses, stock options, or similar
28
                                                    49
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 51 of 55 Page ID #:51



 1
       compensation from Beyond Meat that was tied to the performance or artificially inflated
 2
       valuation of Beyond Meat, or received compensation that was unjust in light of the
 3
       Individual Defendants’ bad faith conduct.
 4
             182. Plaintiff, as shareholder and representative of Beyond Meat, seeks restitution
 5
       from the Individual Defendants and seeks an order from this Court disgorging all profits—
 6
       including from benefits, and other compensation, including any performance-based or
 7
       valuation-based compensation—obtained by the Individual Defendants due to their
 8
       wrongful conduct and breach of their fiduciary duties.
 9
             183. Plaintiff on behalf of Beyond Meat has no adequate remedy at law.
10
                                              FOURTH CLAIM
11
                       Against the Individual Defendants for Gross Mismanagement
12
             184. Plaintiff incorporates by reference and re-alleges each and every allegation set
13
       forth above, as though fully set forth herein.
14
             185. By their actions alleged herein, the Individual Defendants, either directly or
15
       through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
16
       duties with regard to prudently managing the assets and business of Beyond Meat in a
17
       manner consistent with the operations of a publicly held corporation.
18
             186. As a direct and proximate result of the Individual Defendants’ gross
19
       mismanagement and breaches of duty alleged herein, Beyond Meat has sustained and will
20
       continue to sustain significant damages.
21
             187. As a result of the misconduct and breaches of duty alleged herein, the
22
       Individual Defendants are liable to the Company.
23
             188. Plaintiff on behalf of Beyond Meat has no adequate remedy at law.
24
                                              SEVENTH CLAIM
25
                 Against Defendants Brown, Nelson, and Hardin for Contribution Under
26
                             Sections 10(b) and 21D of the Exchange Act
27

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                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 52 of 55 Page ID #:52



 1
             189. Plaintiff incorporates by reference and re-alleges each and every allegation set
 2
       forth above, as though fully set forth herein.
 3
             190. Beyond Meat, Defendants Brown, Nelson, and Hardin are named as
 4
       defendants in the Securities Class Action, which asserts claims under the federal securities
 5
       law for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5
 6
       promulgated thereunder. If and when the Company is found liable in the Securities Class
 7
       Action for these violations of the federal securities laws, the Company’s liability will be in
 8
       whole or in part due to Defendants Brown, Nelson, and Hardin’s willful and/or reckless
 9
       violations of their obligations as officers and/or directors of Beyond Meat
10
             191. Defendants Brown, Nelson, and Hardin, because of their positions of control
11
       and authority as officers and/or directors of Beyond Meat, were able to and did, directly
12
       and/or indirectly, exercise control over the business and corporate affairs of Beyond Meat,
13
       including the wrongful acts complained of herein and in the Securities Class Action.
14
             192. Accordingly, Defendants Brown, Nelson, and Hardin are liable under 15
15
       U.S.C. § 78u-4(f), which governs the application of a private right of action for contribution
16
       arising out of violations of the Exchange Act.
17
             193. As such, Beyond Meat is entitled to receive all appropriate contribution or
18
       indemnification from Defendants Brown, Nelson, and Hardin.
19
                                           PRAYER FOR RELIEF
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             194.              FOR THESE REASONS, Plaintiff demands judgment in the
21
       Company’s favor against all Individual Defendants as follows:
22
                    (a)    Declaring that Plaintiff may maintain this action on behalf of Beyond
23
       Meat, and that Plaintiff is an adequate representative of the Company;
24
                    (b)    Declaring that the Individual Defendants have breached and/or aided
25
       and abetted the breach of their fiduciary duties to Beyond Meat;
26
                    (c)    Determining and awarding to Beyond Meat the damages sustained by
27
       it as a result of the violations set forth above from each of the Individual Defendants with
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                                                    51
                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 53 of 55 Page ID #:53



 1
       pre-judgment and post-judgment interest thereon;
 2
                   (d)     Directing Beyond Meat and the Individual Defendants to take all
 3
       necessary actions to reform and improve its corporate governance and internal procedures
 4
       to comply with applicable laws and to protect Beyond Meat and its shareholders from a
 5
       repeat of the damaging events described herein, including, but not limited to, putting
 6
       forward for shareholder vote the following resolutions for amendments to the Company’s
 7
       Bylaws or Articles of Incorporation and the following actions as may be necessary to
 8
       ensure proper corporate governance policies:
 9
                         1. a proposal to strengthen the Board’s supervision of operations and
10
                 develop and implement procedures for greater shareholder input into the policies
11
                 and guidelines of the Board;
12
                         2. a provision to permit the shareholders of Beyond Meat to nominate at
13
                 least five candidates for election to the Board; and
14
                         3. a proposal to ensure the establishment of effective oversight of
15
                 compliance with applicable laws, rules, and regulations.
16
                   (e)     Awarding Beyond Meat restitution from the Individual Defendants, and
17
       each of them;
18
                   (f)     Awarding Plaintiff the costs and disbursements of this action, including
19
       reasonable attorneys’ and experts’ fees, costs, and expenses; and
20
                   (g)     Granting such other and further relief as the Court may deem just and
21
       proper.
22
                                     JURY TRIAL DEMANDED
23

24
             Plaintiff hereby demands a trial by jury of all issues so triable.
25
          Dated: July 21, 2023                     Respectfully submitted,
26

27                                                 THE BROWN LAW FIRM, P.C.

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                               Verified Shareholder Derivative Complaint
     Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 54 of 55 Page ID #:54



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         Case 2:23-cv-05954-MWF-AGR Document 1 Filed 07/21/23 Page 55 of 55 Page ID #:55




                                                         VERIFICATION

                     I, Hugues Gervat, am a plaintiff in the within action. I have reviewed the allegations
            made in this Shareholder Derivative Complaint, know the contents thereof, and authorize its
            filing. To those allegations of which I have personal knowledge, I believe those allegations to be
            true. As to those allegations of which I do not have personal knowledge, I rely upon my counsel
            and their investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this
            7/18/2023
             __ day of July, 2023.

                                              ______________________
                                              Hugues Gervat
